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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

MELVIN WILLIAMS, RHONDA DANIELS,            PLAINTIFFS
GARRY ARTHUR, MAMIE BARRETT, ALMEIA BOLDEN,
RODNEY DANIELS, RAKASHA ADAMS, COSSONDRA THOMAS
KEITH FREEMAN, TAMMY HEARD,
 PAMELA RIGBY, CANDICE INGRAM,
MIRON SMITH, TERRANCE TILLER,
ROBERT WATTS and UCONA CARTER

VS.                     CIVIL CAUSE NO.3:20-cv-00785-DPJ-FKB

THE CITY OF JACKSON, JACKSON POLICE DEPARTMENT, DEFENDANTS
MAYOR CHOKWE ANTAR LUMUMBA, in his capacity as mayor and
individually, CHIEF JAMES DAVIS individually and
in his professional capacity, DEPUTY CHIEF DERIC HEARNS
individually and as deputy chief of police, E. BRADLEY LUMUMBA
alias (HONDO), individually, and his capacity with the City of Jackson,
VINCENT GRIZZELL individually, and in his professional capacity with
the City of Jackson
Defendants John Doe 1-5
Defendant John Doe Company 1-5

________________________________________________________________________

  (Amended)COMPLAINT PURSUANT TO THE COURT’S ORDER DOC.[32]
                            (Jury Demanded)
________________________________________________________________________

   COMES NOW, Plaintiffs Melvin Williams, Rhonda Daniels,

Garry Arthur, Mamie Barrett, Almeia Bolden, Rodney Daniels, Rakasha Adams, Craig

Crowley, Keith Freeman, Tammy Heard, Pamela Rigby, Candice Ingram, Miron Smith,

Terrance Tiller, Ucona Carter, and Robert Watts by and through their attorney of record

and files this complaint against Defendants The City of Jackson, Mayor Lumumba in his


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professional capacity as the mayor and individually, Chief James Davis professional and

individually, Deputy Chief Deric Hearn in his professional capacity and individually, E.

Bradley Lumumba alia (HONDO) in is professional capacity and individually, Deputy

Chief Vincent Grizzell in his professional and individual capacity for the following:

Violation of each Plaintiff’s 1st, 14th U.S. Constitutional Amendments Rights, Title 42 of

the United States Code, Section 1983 42 U.S.C. Section 1983, Title VII of the Civil

Rights Act of 1964, Sex discrimination, race discrimination, sexist discrimination (gay

rights), Fair Labor Standards Act and Retaliation.

STATE CLAIMS OF:misrepresentation, misuse of a legal proceeding, joint tortfeasors,

strict liability, negligence, negligence per se, negligent hiring, negligent retention,

negligent supervising, intentional infliction fo emotional distress, negligent infliction of

emotional distress, breach of contract, conspiracy, fraud, strict liability, and mental

anguish.



   As such, Plaintiffs will show this honorable Court to wit:

                            JURISDICTION AND VENUE

This matter is actionable under the United States Constitutional First, and Fourteenth

Amendment Rights, Title 42 of the United States Code, Section 1983 42 U.S.C. Section

1983, Title VII of the Civil Rights Act of 1964, and this court has supplemental

jurisdiction over the state claims under 28 U.S.C. 1367.

                                          Venue

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Venue is proper because there exist federal questions asserted by Plaintiffs and

Defendants are located in the jurisdiction of the Southern District of Mississippi Northern

Division.

                        EXHAUSTION OF EEOC REMEDIES

Plaintiffs claiming discrimination of sex, race, color, retaliation and disability EEOC right

to sue letters are attached hereto as exhibit A.

        EXHAUSTION OF THE REQUIRED MISS. CODE ANN.11-46-11(1)

Plaintiffs filed the required notice of intent to sue with the City of Jackson Clerk’s office

on July 14, 2020. Hereto attached as exhibit B.

                           PARTIES TO THE COMPLAINT

1. Plaintiff Melvin Williams resides in Jackson, Mississippi Hinds County.

2. Plaintiff Rhonda Daniels resides in Jackson, Mississippi Hinds County.

3. Plaintiff Garry Arthur Daniels resides in Jackson, Mississippi Hinds County.

4. Plaintiff Mamie Barrett resides in Madison, Mississippi

5. Plaintiff Amelia Bolden resides in Jackson, Mississippi Hinds County.

6. Plaintiff Rodney Daniels resides in Rankin County Mississippi.

7. Plaintiff Rakasha Adams resides in Warren County Mississippi.

8. Plaintiff Craig Crowley resides in Jackson, Mississippi Hinds County.

9. Plaintiff Keith Freeman resides in Hinds County Mississippi.

10. Plaintiff Tammy Heard resides in Rankin County Mississippi .

11. Plaintiff Pamela Rigby resides in Madison, Mississippi.

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12. Plaintiff Candice Ingram resides in Hinds County Mississippi.

13. Plaintiff Miron Smith resides in Jackson, Mississippi.

14. Plaintiff Terrance Tiller resides in Jackson, Mississippi.

15. Plaintiff Robert Watts resides in Brooklyn New York.

16. Ucona Carter resides in Jackson Mississippi.

17. Defendant the City of Jackson, and Jackson, Police Department is a municipality in

    the State of Mississippi and may be served with process through the City’s Clerk

    office located ate 219 South President Street, Jackson, MS 39201.

18. Defendant Mayor Lumumba is a resident of Jackson, Mississippi, and out of respect

    of this Defendants privacy Plaintiffs may be served with process through the Office

    of the Mayor 219 South President Street Jackson, Mississippi 39201.

19. Defendant The City of Jackson Police Chief, James Davis is a resident of Byram

    Mississippi Hinds County and may be served with process wherever he may be

    found.

20. Defendant Deric Hearn is a resident of Pocahontas Mississippi and may be served

    with process wherever he may be found.

21. Defendant E. Bradley Lumumba known alias (HUNDO) is a Jackson, Mississippi

    Hinds County and may be served with process wherever he may be found.

22. Defendant Vincent Grizzell resides in Jackson, Mississippi and may be served with

    process wherever he may be found.



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     23. Defendant John Doe identified pursuant to the F.R.CP. and at this time is believed to

           be person[s] whom were employed as Deputy Chief of Police and/or employee of the

           City of Jackson Police Department during all relevant time to this complaint statute

           of limitations.

     24. Defendant John Doe Company are also identified pursuant to the F.R.C.P. and at this

           time is believed to be companies created by the Mayor Lumumba, and/or E.

           Bradley(Hondo), as well as chief of Police James Davis. As such, Plaintiff intends to

           identify said companies at a different time pursuant to the F.R.C.P.1

     25.           STATEMENT OF THE FACTS WITH THE LEGAL AUTHORITY

     26.         In the case sub judice, the honorable District Court Judge entered an order for

           Plaintiff tailor an amended complaint to the assertion of qualified immunity and fairly

           engage its allegation. Doc.[32] at ❡C. The honorable Court held that a Schultea, 47

           F. 3d at 1433 like frame work approach will guide the contents and highlight certain

           legal questions the Court has seen in its own research. Additionally, the Court held

           that its Order hopes to organize the allegations and the claims in a way the parties—

           and then the Court—can substantively address.

     27.         As a result, Plaintiffs in desiring to give a full precise and heighten approach of

           facts and law to the Defendants and for that matter the Court, will show to with:

     28.               VIOLATION OF THE U.S. FIRST AMENDEMENT RIGHT


     1 Plaintis ask the court’s indulgence if any grammar or punctuation errors appear as well as
     beg the pardon of any party to this suit whom’s name may not be correctly spelled. Please
     know it was not the intention of any party opposite.

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           29.                                        PROTECTED SPEECH

           30.              The violators of the protected speech: The City of Jackson, Mayor Lumumba

                 professionally and individually, The City of Jackson Police Department, Chief James

                 Davis, professionally and individually, Deputy Chief Deric Heran, and Deputy Chief

                 Vincent Grizzell in their professional and individual capacity.

           The Plaintiffs2:
           MELVIN WILLIAMS, RHONDA DANIELS,
           GARRY ARTHUR, MAMIE BARRETT, ALMEIA BOLDEN,
           RODNEY DANIELS, RAKASHA ADAMS, COSSONDRA THOMAS
            KEITH FREEMAN, TAMMY HEARD,
            PAMELA RIGBY, CANDICE INGRAM,
           MIRON SMITH, TERRANCE TILLER,
            ROBERT WATTS and UCONA CARTER
           32. The facts to support this claim: or around May 2020, each Plaintiff avers that their

           protected right under the First United States Constitutional Amendment right to freedom

           of speech was breached by all Defendants, when Chief James Davis circulated a letter to

           each Plaintiff that stated for each Plaintiff to make a sworn declaration before Chief

           James Davis god, and to cause the Plaintiffs to relieve themselves of their protected First

           Amendment constitutional right freedom of speech. Found within exhibit C, (the letter

           from Chief Davis) at line [9- 11] demanding that each Plaintiff keep public information3 a

           secret from the public even though Plaintiffs are servants of the public and has not

           relinquished their 14th Amendment U.S. Constitutional right just because of their


           2 Plainti   s will always mean each and every Plainti in the caption of this lawsuit
           3 Plaintis avers that the public information are calls from 911 which without said information
           before the public, Plainti s avers that the life of the citizens of Jackson as well as the police
           o cers working the call jeopardizes their life and health.

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profession, a City of Jackson Police Officer or employee of the same. Chief Davis sent a

written demand that:”open records, which according to Chief Davis is applicable to

“ALL MEN,” are privileged to the rights of liberty, equality, and justice through the

United States Constitution(line four of exhibit C). Plaintiffs avers that making Plaintiffs

keep the information a secret, was reckless and extremely life threatening and that no

other Police Chief nor Mayor has ever demanded the same from their officers. Plaintiffs

contend that Defendants demand caused each Plaintiff to suffer undue accelerate and

unnecessary anxiety that perpetrated a need for therapy and in some instances

medication. Plaintiffs further avers that such a demand by Chief Davis, and enforced at

its time of delivery to each Plaintiff by Deputy Chief Grizzell, and Deputy Chief Hearn

was a depiction of stopping Plaintiffs from the very protection that these bad actors in the

same letter, stated that “all men” are afforded through the U.S. Constitution. (Please see

exhibit C).

33. Additionally, each Plaintiff avers that the City of Jackson, The Jackson Police

Department, Chief James Davis, Deputy Chief Vincent Grizzell and Deric Hearn all

promised contractually to provide Plaintiffs with a bullet proof vest(Body Armor) Please

see exhibit Y4. However, at all times relevant to this lawsuit, these named Defendants

did not honor that agreement. Unbeknownst to some, a bullet proof armored vest expires

in or around five years. Plaintiffs vest are and were during all times relevant to their

notice of claim letter expired and thereby infiltrating the risk of being shot or killed as a

4 exhibit Y is out of numbering because it is used later in the complaint as well



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police officer. This information was always available to Defendants and they had a duty

to know the same. Instead, Defendants gave each and every new police officer entering

into the City of Jackson Police Department a vest, but treated that same protection

different to Plaintiffs thereby endangering their lives daily.

Now the Law:      As relating to the improper conduct of a governmental official conduct

during their capacity of service, 5th Circuit has held that: “(1) so long, but only so long,

as their conduct has not violated “clearly established statutory or constitutional rights of

which a reasonable person would have known” at the time of the actions then immunity

passes to that governmental official. Rykers v. Alford, 832 F2d, 895, 897 (5th Cir. 1987).

Chrissy F. by Medley v. Mississippi Dep't of Pub. Welfare, 925 F.2d 844, 850 (5th Cir.

1991), quoting, Scheuer v. Rhodes, 416 U.S. 232, 238, 94 S.Ct. 1683, 1687, 40 L.Ed.2d

90 (1974) and Imbler v. Pachtman, 424 U.S. 409, 431, 96 S.Ct. 984, 995, 47 L.Ed.2d

128 (1976), Marrero v. Hialeah, 625 F.2d 499, 510 (5th Cir.1980), Oliver v. Collins, 904

F.2d 278, 281 (5th Cir.1990).

 34.    In the case before the honorable Court, Defendants the City of Jackson, Jackson

Police Department, both acquiesced the wrongful conduct of the enforcement of said

letter, exhibit C when the City of Jackson, the Jackson Police Department, allowed its

Chief of Police to allow Chief James Davis, Deputy Chief Deric Hearn, and Deputy Chief

Vincent Grizzell to impede upon and force each Plaintiffs right of freedom of speech,

especially when such protected freedom of speech is necessary in Plaintiffs day to day

work on the streets and interacting with citizens in the City of Jackson. .

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      35. Moreover, it is clear that the right to have the freedom of speech was established at

     the time of the bad conduct by these named defendants because the letter itself clearly

     shows that the City of Jackson, the Jackson Police Department, Chief James Davis,

     Deputy Chief Vincent Grizzell, and Deputy Chief Deric Hearn’s letter to Plaintiffs states

     that the Police Department is required to respect the Constitutional rights of “ALL,” men

     liberty, equality and justice. As such, each Plaintiff, although some are females, are those

     protected members of United States Constitution and thereby have a right to freedom of

     their speech without being intimidated, harassed, threatened to be terminated because

     they are exercising their freedom of speech.      Defendants gave a written published rule,

     exhibit D, of their knowledge of a clearly established constitutional right of the First

     Amendment right of protected speech requiring each Plaintiff to relinquish that right of

     speech.

       36. Furthermore, the the 5th Circuit has opined that: “A public employee 5does not

     relinquish First Amendment rights to comment on matters of public interest by virtue of

     government employment.” Connick v. Myers, 461 U.S. 138, 140, 103 S.Ct. 1684, 75

     L.Ed.2d 708 (1983) (citing Pickering v. Bd. of Educ., 391 U.S. 563, 88 S.Ct. 1731, 20

     L.Ed.2d 811 (1968)). Likewise, each Plaintiff is or was at all times relevant to filing their

     lawsuit, a police officer, detective, or civilian of the City of Jackson Police Department

     and are afforded rights and privileges of Civil Service under the City of Jackson Police


     5 All Plainti
                s in this matter are City of Jackson Police employees or related with a close nexus
     as a member of the police department. This fact has not been disputed nor can be by either
     Defendant.

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Department and the City of Jackson. Therefore, the right to have freedom of speech for

the necessary protection of the lives of the public and each Plaintiffs life.          This

constitutional law was clearly established and known by Defendants the City of Jackson,

Jackson Police Department, Chief James Davis, Deputy Chief Deric Hearn, and Deputy

Chief Vincent Grizell personally and professionally recklessly decided to force Plaintiffs

to sign such violation of their constitutional rights when they provided the letter to

Plaintiffs through their respective chain of command and in some instances required that

Plaintiffs to sign the letter that violated Plaintiffs constitutional right of freedom of

speech. Plaintiffs avers that their protected freedom of speech was at all times relevant to

filing of Plaintiffs lawsuit.

 37. Plaintiff further urges the fact that they believe the City of Jackson, Mayor

Lumumba, Chief James Davis, Deputy Chief Deric Hearn, and Vincent Grizell all knew

or should have known that they were violating Plaintiffs freedom of speech            upon

information and belief the had a meeting regarding the very document that was

distributed. Additionally, upon information and belief the reason for the letter was to

protect a then allege offender whom also was a City of Jackson Police officer and upon

information and belief a friend to Chief Davis, Mark Coleman. Plaintiffs avers that the

life of the citizens of Jackson police officers as well as Plaintiffs were placed in eminent

danger because their is no warning to the officers/Plaintiffs nor the public regarding the




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harm that may be lurking about the streets of Jackson.6            Plaintiffs further contend that

without the public information being revealed to the public their lives were in serious

danger and that the very records sought to be silenced by the named defendants in this

violation, public records that are to be kept secret.7 are exactly that, “public records.”

38.        Even more egregious is the fact that Plaintiffs avers that some of them were forced

to sign this letter and if they refused to sign Plaintiffs would be reprimanded or even

terminated as an employee of The City of Jackson Police Department. As a result,

Plaintiffs are concerned with this demand by the City of Jackson, which Plaintiff

contends violates their freedom of speech, especially since if there is a call out for the

police into the public, that record is public information and not being transparent could

harm the public at large and cause either Plaintiff to be killed.

39. Therefore, pursuant to the heighten standard to show the law and fact regarding a

U.S. First Constitutional right is established above with law that supports the same.

Next, THERE IS NO IMMUNITY DEFENSE REGARDING THE VIOLATION OF

PLAINTIFFS 1ST U.S. CONSTITUTIONAL RIGHTS. Plaintiffs were requested to

file an amended complaint that could address possible immunity defenses from the



6 Upon information and belief this letter, exhibit C arose after the local media wanted public
records about an alleged possible child predator, o cer Mark Coleman, whom, according to
information and belief is/was the friend of Chief James Davis. Plainti s make no assertion
as to truth nor validity concerning o cer Mark Coleman’s status nor case regarding alleged
facts, only that such matters at the time of exhibit C, likely motivated the distribution of exhibit
C by Chief James Davis.
7 The document, exhibit C states at line 10 and 11: “Whatever I see or hear of a con dential
nature or that is con ded to me in my o cial capacity will be kept ever secret unless revelation
is necessary in the performance of my duty.”

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Defendant, in their official capacity, here is the law regarding the same. 5th Circuit has

well established that a Plaintiff could have some impediments in suing the government

for damages including monetary damages for violation of clearly established

constitutional violations. In fact, a city more so than state governments can be sued for

enforcing an unconstitutional law or policy, as claimed here by Plaintiffs.    Cities, as in

the City of Jackson, and employees are given only partial, or qualified immunity. This

means that they may be held liable for damages for violating someone’s constitutional

rights if the right was clearly established at the time of the violation and a reasonable

person in the same circumstance would have known they were violating the right.

The 5th Circuit has held that: “ When considering a defendant's entitlement to qualified

immunity, we must ask whether the law so clearly and unambiguously prohibited his

conduct that ‘every reasonable official would understand that what he is doing violates

[the law].’ ” Morgan v. Swanson, 659 F.3d 359, 371 (5th Cir.2011) (citing Ashcroft v. al–

Kidd, ––– U.S. ––––, 131 S.Ct. 2074, 2083, 179 L.Ed.2d 1149 (2011) (internal citation

omitted)). Additionally, 5th Circuit holds clear law relating to a Plaintiffs duty to show

that a constitutional violation is apparent and that a reasonable person in like shoes would

not have done the same bad act. “immunity protects all but the plainly incompetent or

those who knowingly violate the law.’ ” Id. (quoting White, 137 S. Ct. at 551 (internal

quotation marks omitted)).“ ‘Of course, general statements of the law are not inherently

incapable of giving fair and clear warning to officers.’ ” Kisela, 138 S. Ct. at 1153

(quoting White, 137 S. Ct. at 552 (internal quotation marks omitted)). “But ... [a]n officer

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‘cannot be said to have violated a clearly established right unless the right's contours

were sufficiently definite that any reasonable official in the defendant's shoes would have

understood that he was violating it.’ ” Id. (quoting Plumhoff v. Rickard, 134 S. Ct. 2012,

2023 (2014)). “That is a necessary part of the qualified-immunity standard[.]” Id.

40. Similarly, in this case the document presented in exhibit C was provided from the

City of Jackson, Jackson Police Department, Chief James Davis and given to Deputy

Chief Deric Hearn, and Vincent Grizell to make each Plaintiff read and sign the

document.    Those Defendants had the opportunity to read and sign the document

themselves, so surely they did not circulate into policy and procedures a document that

was not pertaining to “ALL” Police personnel including themselves, and surely they

recognized they they wrote “constitutional rights are protected in the document.

Therefore, the right was clearly established and no reasonable likeminded administration

could write a constitutional right on a document and turn around and violate the very

constitutional right to others under their command.

41. VIOLATION OF PLAINTIFFS EQUAL PROTECTION UNDER THE

FOURTEENTH AMENDMENT CLAUSE DISPARATE TREATMENT, TITLE VII,

AND SECTON 1983: A precursor of the 14th Amendment as applied by the Fifth Circuit

Court of Appeals.

Provides that [n]o state shall….deny to any person within its jurisdiction the equal

protection of the laws.” U.S. Const. amend. XIV, § 1. A plaintiff asserting an Equal

Protection Clause claim under § 1983 “must either allege that (a) a state actor

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intentionally discriminated against him because of membership in a protected class, or

(b) he has been intentionally treated differently from others similarly situated and that

there is no rational basis for the difference in treatment.” Gibson v. Tex. Dep't of Ins.-

Div. of Workers' Comp., 700 F.3d 227, 238 (5th Cir. 2012)

The violators are: The City of Jackson, The City of Jackson Police Department, Chief

James Davis, Deputy Chief Deric Heran, and Deputy Chief Vincent Grizzell in their

professional and individual capacity, E. Bradley Lumumba aka, Hondo.

The Facts:

42. Each Plaintiff makes a U.S. 14 Amendment Constitutional claim against The City of

Jackson, The City of Jackson Police Department, Chief James Davis, Deputy Chief Deric

Hearn, and Deputy Chief Vincent Grizzell in their professional and individual capacity.

Plaintiffs assert that and during all times relevant to filing their complaint that they were

not treated equally as other officers in at least two distinct ways, (1) The post of acting

seragent, (2) provided a bullet proof vest(the vest is discussed above but is still applicable

under the 14th Amendment and U.S. § 1983) like each and every new recruit that was

inducted before and after Plaintiffs notice to sue letter. Defendants Mayor Lumumba, in

his professional and personal capacity, The City of Jackson Police Department along with

its Chief James Davis, Deputy Chief Deric Hearn, and Deputy Chief Vincent Grizzell in

their professional and individual capacity, as well as the The City of Jackson under the

leadership of Lumumba acquiescing the unequal treatment to each Plaintiff, denied

Plaintiffs choose police officers with less qualifications of experience and time on the

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job, and hand picked all men of their favorites, rather than either woman as the women

Plaintiffs in this suit whom were more qualified than the chosen men for acting sergeant.

Plaintiffs further avers that Lumumba, Department, Chief James Davis, Deputy Chief

Deric Hearn, and Deputy Chief Vincent Grizzell in their professional and individual

capacity placed their also began a targeted campaign of workplace harassment, including

ignoring the policy and procedure of seniority ranking for officers and detectives. Such

workplace harassment was given by these Defendants to each Plaintiff filed in this

lawsuit. Instances including Rhonda Daniels given a work load of cases as a detective

that nearly double since the filing of the lawsuit.         Such workplace harassment,

humiliated, retaliation, intimidation and bullying was so severe that Rhonda Daniels

requested to be put back in patrol as a beat officer but once their she did not get the

mandatory seniority status of Alpha shift, instead, she was retaliated against by putting

her on the Bravo Shift, which is where most rookies start. Please see exhibit E. Even

more horrific, is the fact that to this date, Plaintiff Rhonda Daniels has never received a

Bullet Proof vest , Taser, nor M-4 Semi Automatic weapon.

  43. Plaintiff Rakasha Adams whom had [2] fatal shootings while on the job as an

officer during a 911 call but was exonerated from all charges still was daily has harassed

in the workplace, intimidated, humiliated, denied job opportunities with the Byram Police

Department because upon information and belief Mayor Lumumba, in or around April

2021 told the Assistant Chief of Police in Byram Police Department that Adams is trigger



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                 happy.8 Adams, whom was not the only officer whom release bullets that fatally shot the

                 victim in the 2018 case9, further assert that several male officers has been in fatal

                 shootings but were not treated with the scrutiny hand of conspired and severe mental

                 depravation that she has gone through since her first fatal shooting in 2017 nor her last

                 fatal shooting in 2018.    Plaintiff Adams avers that the desperate treatment by Mayor

                 Lumumba in his professional and individual capacity, The City of Jackson ratifying the

                 constitutional violations, Chief James Davis professionally and individually, as well as

                 Deputy Chief Deric Hearn, and Vincent Grizzell, both professionally and personally has

                 been consistently daily to this date.     Plaintiffs Adams and Rhonda Daniel's also avers

                 that even new Rookie Recruits have been given new bullet proof vests, tasers, and

                 automatic guns.

                 44.    All Plaintiffs contend since the filing of their required intent to sue notice, all

                 Plaintiffs have been retaliated upon by Mayor Lumumba individually and in his

                 professional capacity, The City of Jackson ratifying the wrong conduct, The City of

                 Jackson Police Department with Chief James Davis professionally and personally,

                 Deputy Chief Deric Hearn, and Deputy Chief Vincent Grizzell in their professional and

                 individual capacity. Plaintiffs further contend that all person[s] placed in acting sergeant

                 positions where paid monies as a sergeant, and left in that position until Plaintiff filed

                 8 PlaintiAdams has had two fatal shootings during her career as a Jackson Police O cer but
                 both were cleared as self defense and not substantiated as wrong doing nor out of her scope
                 as an o cer.
                 9 O  cer Albert Taylor, a MALE OFFICER also released deadly bullets was given back his gun,
                 returned back to duty, and even given a new police car. Plainti Adams to this date has none
                 of these, but has been cleared to return to work

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their intent to sue notice with the Defendants. All Plaintiffs also avers that placing of

those unqualified officers into those acting temporary positions of sergeant(please see

exhibit F a showing of hand picked officers whom went from a post to acting sergeant

and lieutenant, whereby Plaintiffs avers was in violation of the City of Jackson’s General

Orders and was not compliant to the general order 4.7 also hereto attached as exhibit F.

Plaintiffs avers that not [1] female was given the temporary sergeant position at all times

relevant to this suit. Plaintiffs assert that the general order, and civil service rules governs

the procedure to follow for installation of temporary appointments and if the

appointments are not to be adhered to by the Defendants then all other cases ruled upon

by a district court might have become voided because “ALL”Defendants, INCLUDING

E. BRADLEY LUMUMBA, AKA(HONDO), whom is not even a certified police

officer with the City of Jackson Police Department and whom has never attended any

police training school was given authority from Mayor Lumumba to direct, instruct, tell,

notify, appraise, warn, lead, conspire and advise Chief James Davis, Deputy Chief Deric

Hearn, and Vincent Grizzell on a direct conspiracy to cause, make, procure, and/or carry

out what appears to have been Mayor Lumumba’s and his10 wishes on how the City of

Jackson Police Department daily operations are ran and what police officers are

reprimanded or in the case of Plaintiff Adams and Plaintiff Cossandra Thomas, forced to



10 Upon information and belief, Mayor Lumumba and E. Bradley Lumumba are believed to be
very close friends whom have accepted an African heritage name “Lumumba” but of which is
not their government name from birth. As such, there is not a recognizable relative that is
legally accepted in the U.S. Instead, a brother hood appears to exist.

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     quit their jobs. Please see exhibit G11, Plaintiff Adams horrifying evidence of where she

     was made to work in non-human conditions especially for a woman, but of which no men

     had to suffer the same work conditions. Exhibit G also shows a rat living in the infested

     area, as well as kittens in a hole in the wall, and toilets that was not operating for use, yet

     alone filled with germs that has not been cleaned in what Plaintiff believes years past,

     phones and computers that were so disgustingly dirty and inoperable but was given to her

     as her work place, floors that have not been cleaned nor swept in years, and locker

     facility for her to leave her personal belongings that was so loaded with filth that bugs

     were present in the locker.12 Plaintiff Adams avers that she was continually suffering

     through being placed in these uninhibited work conditions daily and such was so severe

     and beyond reckless that she had to seek therapy for answers why the male Defendants

     would treat her like this. Plaintiff avers that upon information and belief the Mayors

     friend, E. Bradley Hondo has made it known that since Adams has had two fatal

     shootings we{the City of Jackson and Police Department need to get rid of her so place

     her in disgusting work positions, do not give her a gun, although she was cleared of any

     wrong doing, and that will make her quit.                 Plaintiffs avers that such conversation likely

     took place before the City of Jackson Personnel manager, Wilma Scott and her assistant

     and in the presence of Mayor Lumumba and others. Moreover, to show her desperation


     11 IF it so please the Court, Plainti        s reserve the right to submit the colored photos for clarity to
     the reader
     12 PlaintiAdams photos are in color and will be led conventionally in order for all involved to
     have the full depiction of the issues presented in those photos.

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                regarding the treatment she was receiving, Adams filed countless interdepartmental

                memorandum’s for help and relief from the continued harassment and discrimination

                against the City of Jackson Police department dated as far back as November 1, 2019 and

                continuing through August 25, 2020. Please see exhibit H.

                45.     In keeping with the violation of clear established constitutional 14th amendment

                privileges and desperate treatment, Plaintiff Cossandra Thomas was the only female and

                qualified applicant for the Jackson Police Department SWAT Team but whom was not

                selected as a member of the ALL MALE SWAT TEAM because she was a female and

                reported sexual harassment conduct, which was shown in a video to Chief Davis, of his

                friend Officer Mayfield.13        Additionally, Plaintiff Cossandra Thomas was more than

                qualified for the job.(Please see exhibit I, Thomas sworn statement of facts and EEOC

                Complaint exhibit I. Plaintiff Thomas avers that ALL Defendants are the violators of her

                being treated differently than male officers due to her protected trait of being a female.

                Plaintiff Thomas further alleges that the disparate treatment by The City of Jackson,

                Jackson Police Department, Mayor Lumumba professionally, E. Bradley Lumumba, aka,

                (Hondo) personally in directing the chief of police, James Davis, both deputy chief’s

                Deric Hearn and Vincent Grizzell was so severe that she ended up leaving the Jackson

                Police Department and working for another state Police Department in an effort to have


                13 O   cer May eld is seen on a City of Jackson video camera located in an elevator that was
                viewed by Chief James Davis showing May eld sexually touching Plainti Cossandra Thomas.
                Plainti is seen resisting the sexual advances which is what prompted May eld’s suspension
                for a few day, but later those days and pay was given back to May eld, although Plainti
                Thomas still did not get selected for SWAT because she is a female.

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     the entitled privilege of becoming a SWAT team member without being discriminated

     against because she is a female.

     46. Now all Plaintiffs, including the few carved out with their evidence14 avers that the

     desperate treatment and violation fo the 14th U.S. Constitutional Amendment by “ALL”

     Defendants including Mayor Lumumba individually and in his professional capacity, The

     City of Jackson ratifying the wrong conduct, The City of Jackson Police Department with

     Chief James Davis professionally and personally, Deputy Chief Deric Hearn, and Deputy

     Chief Vincent Grizzell in their professional and individual capacity have done the ill

     conduct shown in the preceding paragraphs and such statements must be taken as true.

     But since it is well established that the federal courts are courts with limited jurisdiction,

     that jurisdiction of protecting the United States Constitution must be met with fairness in

     the interpretation of the law applicable to the facts in compliant and pleadings. The Court

     must take the statements in this pleading as true and that statement is that not even one of

     the above Plaintiffs were offered the opportunity nor provided the same of an acting

     sergeant with the Jackson Police Department. In short, Plaintiffs assert that Defendants

     Mayor Lumumba in his official and individual capacity, The City of Jackson Police

     Department, Chief James Davis, Deputy Chief Deric Hearn, and Deputy Chief Vincent

     Grizzell in their professional and individual capacity, exemplified disparate treatment

     14 Plaintis are attempting to carve out speci c allegations of the constitutional violations but
     reference the Court back to the attachments of each Plainti whom states within their own
     words said violation. Plainti s are also attempting not to be redundant nor confusing to the
     readers of the complaint, but since all are claiming the constitutional violations, Plainti s
     paragraphs are attempting to spell out the group and continue with additional speci c
     violations of some of the more egregious Plainti s complaints and their evidence.

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under the law that was clearly established at the time of the violation against Plaintiffs

U.S. Constitutional 14th Amendment Due Process right. Plaintiffs contend that policy and

procedure was violated by Defendants Mayor Lumumba in his official and individual

capacity, The City of Jackson Police Department, Chief James Davis, Deputy Chief Deric

Hearn, and Deputy Chief Vincent Grizzell in their professional and individual capacity

and the City of Jackson and the Jackson Police Department General Orders are a witness

that the Plaintiffs right to due process was in place to prevent such an injury as claimed

hereto.

47. Next, Plaintiff Terrance Tiller is a [18] year veteran JPD officer whom was involved

in a fatal shooting of an armed man in the City of Jackson on April 13, 2020. As a result

of the fatal shooting Plaintiff Tiller was placed on administrative leave. However, there is

a severe violation treating Plaintiff Tiller completely different than any officer with JPD

before and after the fatal shooting that caused Tiller to a Plaintiff in this suit.

Plaintiff Tiller offers exhibit FF a letter from Mayor Lumumba office dated September

24, 2018 and stating at pagaragph 1, 4, and 6 that the City of Jackson Police Department

will release information related to officer-involved shootings.

48. However, in and around April 14th it was the Mayor whom made local TV news

stating the improper information about Plaintiff Tiller’s involvement in the April 13, 2020

fatal shooting of a suspect of which Plaintiff Tiller was exonerated by a Grand Jury

haring regarding the matter.



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Mayor Lumumba stated to the news teams that it was Terrance Tiller whom shot and

killed the suspect and even more egregious is the fact that Mayor Lumumba even

POSTED PLAINTIFF TILLERS PICTURE TO THE WORLD, violating Plaintiffs

right to be treated as equal to any other police officer involved in a fatal shooting. In fact,

Mayor Lumumba was believed to have stated that his policy was to show “the people to

decide,” officer involved shootings. The problem with that is Mayor Lumumba must

have forgotten that Plaintiff Tiller had a right not to have his police picture shown before

the very public that he must return to as a citizen while the investigation was proceeding.

As a result of the gross negligence and reckless conduct by The City of Jackson through

its Mayor Lumumba, The Jackson Police Department and its Chief of Police James

Davis, Plaintiff Tiller received life threatening calls, there was wrongful distasteful things

thrown on his personal care and home, his neighbors stop speaking to him, his family lost

faith in him and this was all within a matter of 24-hours of the Mayor recklessly leading

the public to believe that Title had done a wrongful police act. Additionally, at line 4 of

exhibit FF15, Mayor Lumumba’s document event states that they knew that Officer Tiller

could have credible threats to his life, but even that statement was ignored by the Mayor’s

office.

  49.     What is even more egregious is the fact that the Mayor’s letter exhibit FF at line

[6] states: ALL INFORMATION IS PRESUMPTIVELY RELEASED AT THE



15 exhibit FF is out of numbering because the information relating is used later in the brief.



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CONCLUSION of an INVESTIGATION. However, it was release within 24-hours of

the shooting.

    50.   Plaintiff Tiller avers that never in the history of The City of Jackson Police

Department was a PHOTO IDENTIFICATION OF A POLICE OFFICER INVOLVED

SHOOTING did the City nor the Police Department release a picture of the office whom

shot and killed a suspect in the line of duty be given to the Media. As such, Plaintifff

Tiller contend that such actions by The City of Jackson, The Jackson Police Department,

Mayor Lumumba professionally and personally, Chief James Davis professionally and

Personally, Deputy Chief Vincent Grizzell and Deric Hearn in participating with the harm

that was caused Plaintiff Tiller including the severe emotional distress and mental

anguish. As stated, the grand jury found no fault of the decorated officer Tiller, please see

exhibit FF at page [3].

   it was the Mayor will was treated so severely different than

51. The LAW PROVIDES NO IMMUNITY DEFENSE FOR THE NATURE OF

CONSTITUTIONAL VIOLATIONS AS FOUND HERE: The Fourteenth

Amendment's Equal Protection Clause forbids a state from “deny[ing] to any person

within its jurisdiction the equal protection of the laws.” U.S. Const. Amend. XIV, § 1.

“Title VII is the exclusive remedy for a violation of its own terms, [but] when a public

employer's conduct violates both Title VII and a separate constitutional or statutory

right, the injured employee may pursue a remedy under § 1983 as well as under Title

VII.” Southard v. Tex. Bd. of Criminal Justice, 114 F.3d 539, 549 (5th Cir. 1997).

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When, however, unlawful employment practices encroach, not only on rights created by

Title VII, but also on rights that are independent of Title VII, Title VII ceases to be

exclusive. At this point, § 1983 and Title VII overlap, providing supplemental remedies.

Id. (quoting Johnston v. Harris Cty. Flood Control Dist., 869 F.2d 1565, 1573 (5th Cir.

1989)). See, e.g., Hervey v. City of Little Rock, 787 F.2d 1223, 1233 (8th Cir. 1986)

(permitting a plaintiff whose Title VII claim was time-barred to pursue an Equal

Protection claim for employment discrimination); Hamilton v. District of Columbia, 720

F. Supp. 2d 102, 111 (D.D.C. 2010) (collecting cases permitting plaintiffs to file an

employment discrimination claim under § 1983).Kabir v. Singing River Health Sys.,

1:19CV412-LG-RHW, (S.D. Miss. Dec. 9, 2019.

Furthermore, 5th Circuit opined that “To establish municipal liability pursuant to §

1983, a plaintiff must demonstrate three elements: a policymaker; an official policy,

and a violation of constitutional rights whose moving force is the policy or custom.”

Shumpert v. City of Tupelo, 905 F.3d 310, 316 (5th Cir. 2018) (internal quotation marks

omitted).

52.    Likewise, in the case before this honorable Court, each Plaintiff has shown with

details in their attached statements and evidence that they were not treated equally as

others with and by the City of Jackson because of their sex, race and even an absence of

being a favorite pick of Defendants Mayor Lumumba, professionally and individually,

The City of Jackson in its ratification of the Mayor’s conduct toward Plaintiffs, The City

of Jackson Police Department, Chief James Davis professionally and individual capacity,

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Deputy Chiefs Deric Hearn, and Vincent Grizell in their professional and personal

enforcement of causing Plaintiffs to suffer because Plaintiffs filed lawsuit, as well as

because they have conspired with the aforementioned Defendants to pick and choose

certain officers for acting sergeant positions through a pattern and custom of choosing.

Accordingly, all of the named Defendants knew or should have known that the acts

alleged hereto violated protected constitutional rights when they as the policy makers and

enforcers of the City of Jackson and the Jackson Police Department’s written policies as

attached hereto were in strict and complete violation of Plaintiffs clearly established

constitutional rights.

53.    Redundantly stated, Title VII of the 1964 Civil Rights Act established the Equal

Employment Opportunity Commission to administer and enforce the Civil Rights law

at work. As such, each Plaintiff in this case avers that their United Sates Constitutional

Right of Due Process was violated by all Defendants when each Plaintiff was not

afforded an opportunity to promotions of temporary sergeants and other promotional

positions.    It follows that Defendants have recklessly hand picked over around [10]

individuals as temporary sergeants for at least a year, all while the City of Jackson Policy

holds that a temporary sergeant may be temporarily put into place for no greater than

120 days, these corporals have held the job position without allowing a fair opportunity

to all persons interested in the same, nor testing for the positions as required by JPD’s

policy.   In fact, and according to Plaintiffs Mayor Lumumba and Chief James Davis

simply does not have the funding to pay for more officers, yet alone properly move

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existing officers into tested sergeant positions, so instead of following their own policy

and procedures, “All Defendants” participated in hand picking unqualified friends and

favorites of their choosing and against the policy and procedure that is written in the City

of Jackson own General Orders.

54. Moreover, all Plaintiffs avers that the mismanagement of the City of Jackson Police

Funding is so misguided until Mayor Lumumba professionally and individually, through

E. Bradley Lumumba acting as a law enforcement officer but up to the date of filing the

required notice to sue was not even a graduate of any law enforcement agency in the state

of Mississippi, along with Chief James Davis professionally and individually, Deputy

Chief Deric Hearn and Vincent Grizzell professionally and individually conspired to

move at least two known sworn certified UNIFORMED POLICEMEN TO WORK

AS AUTO MECHANICS AT THE CITY’S GARAGE because the problems with

police cars were so elevated that they could not hire auto mechanics.

 55.     It follows that the 5th Circuit held under the 1983 Equal Protection clause of the

Constitution and in Yul Chu v. Mississippi State Univ., 1:08-CV-00232-GHD, (N.D. Miss.

2012), aff'd, 14-60129, (5th Cir. 2014).

that: “The Equal Protection Clause reaches only state actors, but [Section] 1983 equal

protection claims may be brought against individuals as well as municipalities and

certain other state entities.” Fitzgerald v. Barnstable Sch. Comm., 555 U.S. 246, 257,

129 S.Ct. 788, 172 L.Ed.2d 582 (2009) (citing West v. Atkins, 487 U.S. 42, 48–51, 108

S.Ct. 2250, 101 L.Ed.2d 40 (1988)). STATES MUST TREAT “ALL PERSONS

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SIMILARLY SITUATED” ALIKE. . Cleburne v. Cleburne Living Ctr., Inc., 473 U.S.

432, 439, 105 S.Ct. 3249, 87 L.Ed.2d 313 (1985). The Fifth Circuit has further opined

that: “In a § 1983 claim for failure to supervise or train, the plaintiff must show that:

“(1) the supervisor either failed to supervise or train the subordinate official; (2) a causal

link exists between the failure to train or supervise and the violation of the plaintiff's

rights; and (3) the failure to train or supervise amounts to deliberate indifference.” Smith

v. Brenoettsy, 158 F.3d 908, 911–12 (5th Cir. 1998). “For an official to act with

deliberate indifference, the official must both be aware of facts from which the inference

could be drawn that a substantial risk of serious harm exists, and he must also draw the

inference.” Id. at 912 (internal quotation omitted). To establish deliberate indifference, “a

plaintiff usually must demonstrate a pattern of violations and that the inadequacy of the

training is obvious and obviously likely to result in a constitutional violation.” Cousin v.

Small, 325 F.3d 627, 637 (5th Cir. 2003) (internal quotation omitted).

56. In the case before this honorable Court, Plaintiffs have demonstrated with facts that

Defendants The City of Jackson through its Mayor, Lumumba, his controlling manager of

the City of Jackson Police Department E. Bradley Lumumba, aka (Hondo), Deputy Chief

Hearn and Grizzell professionally and individually that there is a consistent pattern and

practice of violating established U.S. Constitutional 14th, § 1983 as well as the protected

equal protection from desperate treatment rights.      Plaintiffs have revealed an apparent

custom and pattern of breaking established constitutional rights of Plaintiffs through

affidavits, evidence of memo’s, photos and statements that must be taken as true. This

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     pattern and custom of abuse of violating Plaintiffs protected constitutional rights is so

     exemplified in the evidence submitted hereto until Plaintiff Rhonda Daniels requested to

     be move to a beat officer rather than a detective, please exhibit J several complaints filed

     with the City of Jackson Police Department regarding harassment for being gay, over

     worked cases loads that were unequally given to Rhonda Daniels, and even just recent as

     SEPTEMBER 13, 2021 and after the intent to sue claims notice was filed with

     Defendants, Plaintiff Rhonda Daniels is found complaining that she still does not have a

     Taser gun, a City issued M-4 Semi Automatic weapon, and a BULLET PROOF VEST.

     Plaintiff Daniels re-asserts that her life is in danger for the area of the City of Jackson is

     known for a vast amount of shootings and that her SAFETY is at issue with NO VEST

     NOR TASER. Please see exhibit J at pages [4 and 5]. Plaintiff again shows the pattern

     and custom of all Defendants propensity to violate her established constitutional rights. 16

     57.    Moreover, Plaintiff Rhonda Daniels continues to illuminate the constitutional

     violations of her protected rights to be treated equal when she now establishes that prior

     to her filing a lawsuit and while she was still a detective in auto theft, grand larceny she

     had [6] areas of felony responsibilities, but after the lawsuit was filed it increased to [10].

     Please see exhibit K evidence from the City of Jackson assigning a call out list and duties

     of Daniels. Plaintiff Rhonda Daniels reveals that this was not only a clearly established

     violation of her constitutional right of equal treatment, but also the retaliation found her

     16 The Court order stated to show what claim to what defendants, as such, Plainti       is
     attempting to spotlight some of the Plainti s severe violations but it is not to diminish all
     Plainti have su ered from these same speci c facts except where the fact pattern leads the
     reader in Sex discrimination, gender discrimination and Race Discrimination.

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was because she is gay and a woman.         Feeling desperate and knowing that it was

impossible to complete such task alone, Rhonda Daniels requested to be placed back on

the street.

58. However, to Plaintiff Rhonda Daniels dismay, once placed back on the street beat

with the Jackson Police Department, the City of Jackson, through its Mayor Lumumba,

E. Bradley Lumumba, the City of Jackson Police Department through its chief of police

James Davis, through his Deputy Chief of Police Deric Hearn, and Vincent Grizell refuse

again to follow the City of Jackson policies and procedures for seniority status to street

officers when they failed to implement Rhonda Daniels to the seniority status that ALL

OTHER MALE officers throughout the Jackson Police Department currently and at all

times relevant to this lawsuit. Please see exhibit L. the written policy of the City of

Jackson.

59. Now, the Establishment Clause Violatons:

The Actors of the violations of the Establishment Clause of the First Amendment: The

City of Jackson through its Mayor Lumumba, individually and personally, The Jackson

Police Department for failing to adhere to its own policy of not establishing religious

practices as shown in Plaintiffs claims, Mayor Lumumba professionally for failing to

enforce the written policy and procedures of this constitutional violation of which he

should be the reasonable standard of a sitting mayor knew or should have known required

or forced religion practices in the workplace is not prohibited under the establishment

clause, of all employees including Chief James Davis, Chief James Davis professionally

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and personally whom also has a duty to known that religious practices by the head of any

government entity17 is prohibited under the establishment clause, Defendant E. Bradley

Lumumba aka(Hondo), professionally and personally, whom consistently or on a daily

basis gave advise, told, directed, instructed, informed acts as a certified City of Jackson

Police personnel18 to the Chief of Police, James Davis, and Deputy Chief Vincent

Grizzell and Deric Hearn professionally and personally.

The facts to support all Plaintiffs claims of the establishment clause violations:

60.    The precursor of the law regarding the establish clause: The establishment clause

requires that the government (Defendants in this case) stay neutral on religious belief,

which is reserved for the conscience of the individual.

61. Each Plaintiff avers their command chief and leader of the City of Jackson Police

Department, James Davis, inter alia did an interview in a Christian magazine exhibit M,

and undeniably stated in black and white words at page 219

that “God will give you wisdom” and that “Now I really have to prove more, because I’m

dealing with a lot more citizens, churches, business owners, schools and the community.”




17 Head entity in this context is meant the chief of police of the largest municipality in the state
of Mississippi.
18 Mr. E. Bradley(Hondo) is alleged for being the person of whom the Mayor directs to direct
and cause the chief of Police, James Davis, and Deputy Chief of police Grizzell, whom in return
directs the same actions to Deputy Chief Hearn.
19 Because the quotes of the Chief of Police do not have paragraph numbers,Plainti s are
quoting verbatim language of di erent passages of Chief James Davis quotes as shown on the
page numbers that correspond to that quote.

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page 20 under Training, prevention and accountability: “People see a lot of ugly things—

“RACISM, INHUMANITY, MURDER—when they see the video of George Floyd, face

down on the ground and handcuffed, crying out for air as MN police officer Derek

Chauvin keeps his knee on Floyd’s neck for 7 minutes…..”

(3) at page 21 beginning at [8] lines from the bottom of the page, Chief James Davis

unequivocally that: “Chief Davis and Mayor Lumumba fired the arresting officers—only

to see them reinstated by the Jackson Civil Service Commission.”

(4) page 21 under the heading”Police officers are human, too” Chief James Davis is

found stating that “Chief Davis also WANTS OFFICERS needs to be met,

ESPECIALLY their mental, SPIRITUAL and emotional needs,

(5) at page 22 highlighted at the top of that page, Chief James Davis said: “I WANT

EVERY ONE OF MY OFFICERS TO SIT DOWN WITH A (CHAPLAIN) and talk

about how they feel,” he said. “If you’re going to be A POLICE, you’ve got to have that

SPIRITUAL FOUNDATION. (but) it’s important for OFFICERS TO SEE LEADERS

DO IT….MY MEETINGS with MY EXECUTIVE STAFF STARTS with a PRAYER.”

62.   Plaintiffs unveils the violation of the protected constitutional right by first showing

the admission by Davis that he knows that he is dealing with the public, so the element of

knowledge is there.

63. Next, Chief James Davis seems to know how to identify racism and inhumanity

which is some of the hallmarks of Plaintiffs claims.



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64.   Chief Davis makes an       non disputed fact that Mayor Lumumba is apart of the

decision making process for the City of Jackson Police Department, although the Mayor

is not a certified police officer for the City of Jackson he decided to interchange his scope

of employment, the Mayor into a field of which is outside the scope of his duties, the day

to day operations of the City of Jackson Police Department. Plaintiffs also avers that this

admission clearly shows the conspiracy claim in Plaintiffs lawsuit.20 Plaintiffs are not

bolstering that exact claim at this time, it is relevant to show that Mayor Lumumba in his

professional and personal capacity violated Plaintiffs First Amendment right under the

establishment clause of the constitution.       Plaintiff contends that Chief James Davis

personally, and as the Chief, and Deputy Chief Vincent Grizell and Deric Hearn

consistently boasted on how he expects and tells Plaintiffs working below him to seek

God in their duties. Plaintiff further avers that the City of Jackson failed Plaintiffs in tier

duty to enforce the U.S. Constitution freedom of religion establishment clause.

65. Exhibit M also shows James Davis admitting that he is forcing Plaintiffs, whom are

officers and personnel under the leadership of Chief James Davis and of whom has no

choice but to do as the Chief of Police says, to yield to Religious practices while working

as a City of Jackson Police Officers and personnel.

66. As a result of the daily and continuing forceful and coerced religious patterns and

custom of Defendants unto all Plaintiffs, Plaintiffs avers that they should not be threaten


20 Conspiracy, according to Model Penal Code §5.03(7) is an agreement by two or more
persons to commit an unlawful act, coupled with an intent to achieve the agreement’s
objective.

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with reprimand or not considered for promotions because they do not follow Defendants

religious practices.

67.   Moreover, according to each Plaintiff, James Davis caused each and every deputy

under him (including those named individually and in their official capacity to attend

some sort of religious ceremony at his personal church in Jackson and on another

occasion at another church whereby by an allege preacher[s] laid hands on the command

staff for the helping in their duty as government workers police officer and to keep them

from the devil. Plaintiff’s contend that those same deputies, all individually and in their

official capacity took that same force of religion to their subordinates, Plaintiffs, and

forced that unconstitutional religious babble on them.

68. Plaintiffs further contend that these same named Defendants as cited above is found

requiring that Plaintiffs go to a church whom stated that they wanted to feed the Jackson

Police Department and get a free meal. Plaintiffs were told that if they did not go to that

church and get the free meal then there will be consequences, so some of them did,

reluctantly because the church was so small and the some of the servers did not even

wear gloves, Plaintiffs believed that forcing them to go to this church was an

establishment violation.

69.   Plaintiff offers the local TV media coverage of the event in late November and

December on WJTV displaying officers standing in a line for a free plate of food, and in

some instances that church was not even in the street beat of some officers, yet they were

required to go to the church.     Plaintiffs urges that when and if they refused to go to

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these serving food churches,     then Plaintiffs are met with serious inquiry by “ALL”

named Defendants through their chain of command as to why they are not supporting a

church located in Jackson, Mississippi. Plaintiffs contends that these Defendants in their

individual capacity has gone beyond the scope of the duties and thereby violated

Plaintiff’s U.S. Constitutional protected right to be free from the government mandating

where and how Plaintiffs practice their individual religion.

70. THE LAW OF ESTABLISHMENT CLAUSE:

71. 5th Circuit held in Doe v. Beaumont Indep. Sch. Dist., 240 F.3d 462, 492 (5th Cir.

2001), that: “a government action is deemed to have been taken for the purpose of

favoring, advancing, or endorsing religion, then no further analysis is required to

conclude that an Establishment Clause violation has occurred.”

Likewise, in the case sub judice Defendants, The City of Jackson through its Mayor

Lumumba, individually and personally, The Jackson Police Department for failing to

adhere to its own policy of not establishing religious practices as shown in Plaintiffs

claims, Mayor Lumumba professionally for failing to enforce the written policy and

procedures of this constitutional violation of which he should be the reasonable standard

of a sitting mayor knew or should have known required or forced religion practices in the

workplace is not prohibited under the establishment clause, of all employees including

Chief James Davis, Chief James Davis professionally and personally whom also has a




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duty to known that religious practices by the head of any government entity21 is

prohibited under the establishment clause, Defendant E. Bradley Lumumba aka(Hondo),

professionally and personally, whom consistently or on a daily basis gave advise, told,

directed, instructed, informed acts as a certified City of Jackson Police personnel22 to the

Chief of Police, James Davis, and Deputy Chief Vincent Grizzell and Deric Hearn

professionally and personally, has admitted in an open 4 page interview that they favored

advanced, endorsed Chief James Davis religion. As such, there cannot be an immunity

because the constitutional right was known by all of these actors their their very own

policy and procedure and no reasonable Police Department, nor City would allow such

constitutional violations to continue on a daily basis.

72. 5th Circuit further held in the Beaumont case that there is a test called the Lemon test

to decipher if the constitution was violated by the government. 5th Circuit held that in

evaluating the merits of an establishment claim: “we consider their allegations in light of

three lines of analysis developed by the Supreme Court. First, the three-part inquiry

of Lemon v. Kurtzman , 403 U.S. 602, 611, 91 S. Ct. 2105, 2110, 29 L. Ed. 2d 745

(1971), (1) whether the purpose of the practice is not secular; (2) whether the program's

primary effect advances or inhibits religion; and (3) whether the program fosters an

excessive government entanglement with religion. The second test, the “coercion” test,

21 Head entity in this context is meant the chief of police of the largest municipality in the state
of Mississippi.
22 Mr. E. Bradley(Hondo) is alleged for being the person of whom the Mayor directs to direct
and cause the chief of Police, James Davis, and Deputy Chief of police Grizzell, whom in return
directs the same actions to Deputy Chief Hearn.

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measures whether the government has directed a formal religious exercise in such a way

as to oblige the participation of objectors. The final test, the “endorsement” test, prohibits

the government from conveying or attempting to convey a message that religion is

preferred over non-religion. We will apply the latter two tests.”

73. Likewise, there is no need for this court to consider further when there exist clear

evidence that there is an endorsement of religion by Defendants and that that

endorsement germinates religion by state actors and these actors has clearly directed

Plaintiffs to follow their religion. As such, no immunity applies to such facts and law

under the U.S. Constitutional violations of the establishment clause.

74.     VIOLATION THE FEMALE OFFICERS AND FEMALE CIVILIANS

PROTECTED SEX DISCRIMINATION, AND SEXUAL ORIENTATION

75. The Actors of Sex Discrimination are

76. The City of Jackson through its Mayor Lumumba, individually and personally, The

Jackson Police Department for failing to adhere to its own policy of sex discrimination

practices as shown in Plaintiffs claims, Mayor Lumumba professionally for failing to

enforce the written policy and procedures of this constitutional violation of which he

should be the reasonable standard of a sitting mayor knew or should have known required

or forced sex discrimination practices in the workplace violates the constitution, Chief

James Davis, Chief James Davis professionally and personally whom also has a duty to

known that sex discrimination practices is prohibited under constitution Defendant E.

Bradley Lumumba aka(Hondo), professionally and personally, whom consistently or on a

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daily basis gave advise, told, directed, instructed, informed acts as a certified City of

Jackson Police personnel to the Chief of Police, James Davis, and Deputy Chief Vincent

Grizzell and Deric Hearn professionally and personally.

77. The PLAINTIFFS FOR SEX DISCRIMINATION Cossondra Thomas, Rakasha

Adams, Almeia Bolden, Ucona Carter, Rhonda Daniels, Tammie Heard, Candice Ingram,

Pammela Rigby, and Mamie Barret.

78. The Facts of this claim:

79. First each Defendant named in paragraph [76] out of nothing short of a power

position over women under their authority, including Defendant E. Bradley aka.(Hondo)

conspired and caused, forced, made or even demanded that female officers Rekasha

Adams, Amelia Bolden, and jail detention officer Ucona Carter             to submit to a

Polygraph Test, “Lie Detector Test,” for no compelling reason but because they are

females under these Defendants control and authority. Plaintiffs Rakasha Adams, Amelia

Bolden and Ucona Carter avers that being forced to submit to a Polygraph test also

violated the City of Jackson’s General Order and the same test was not even performed

by a City of Jackson employee as required in the General Orders. Please see exhibit N

the General Orders as prescribed in writing, G.O.200-5 III (A)(1)(c). Plaintiffs avers

that the shock, humiliation and embarrassment of being forced and treated differently

than their male co-officers23 has to this date caused mental anguish, and even caused



23 Upon information and belief not even one male o cer was brought under these demeaning
questioning by the Chief and the named defendants in this case.

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Carter to move to another state especially since she was fired from her job. Plaintiffs

Adams, Bolden and Carter avers that Defendants did this to them just to see(fish) if either

of them gave the local news anchors the “mug shot,” of police officer Mark Coleman

whom upon information and belief was in fact arrested. Officers Rakasha Adams, Almeia

Bolden, Ucona Carter were female police officers for the City of Jackson and whom

avers that they were picked out and picked on by The City of Jackson through its Jackson

Police Department and Chief James Davis, chief Deric Hearn, Deputy chief Vincent

Grizzell, the City of Jackson Mayor Lumumba’s driver/body guard E. Bradley(Hondo)

and even the Mayor Lumumba, all professionally and in their personal capacity simply

because they are females. These women were threatened with immediate termination and

reprimands, as well as called into the Internal Affairs division of Jackson Police

Department and questioned about information being leaked to the news anchors and the

public about Officer Mark Coleman’s arrest in early Spring of 2020. Plaintiffs avers that

it is regardless of a police officer or not, once a party is arrested the matter becomes

public information, so the witch hunt was not for legitimate purposes.     However, these

female Plaintiffs contend that they were harassed and humiliated before the male officers

in their respective positions all because it appears that Chief James Davis, Deputy Chief

Vincent Grizzell and E.Bradley(Hondo),whom Plaintiffs contend is not a sworn certified

police officer, instead the Mayors relative (See aforementioned footnotes) and the

Mayor’s personal bodyguard. Plaintiffs contend that E. Bradley Lumumba aka.HONDO,

through the Mayor is found throughout the causes in this lawsuit giving directions to

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certified Plaintiffs by abused authorities of Chief James Davis and Deputy Chief Vincent

Grizell, as well as even Deputy Chief Deric Hearn. Rakasha Adams, Almeia Bolden and

Ucona Carter contend that all of these named Defendants were/are moving at the Mayor’s

command, by and through E. Bradley Lumumba demanding that one, if not all of these

females leaked the photo of officer Mark Coleman to the public and therefore must be

terminated or reprimanded for that reason. Plaintiffs avers that Mayor Lumumba during

his campaign to run for mayor of the City of Jackson, swore to the public that he/his

administration would be transparent with information especially as it related to the

City of Jackson Police. However, Mayor Lumumba breached that promise as shown

through out this lawsuit. Also, upon information and belief Plaintiffs assert that officer

Mark Coleman and Chief James Davis were good friends at the time of Mark Coleman’s

arrest and perhaps Chief James Davis was motivated by this fact in his efforts to harass

these women police officers under his authority. Especially since Internal Affairs

detective told all [3] Plaintiffs, while being questioned about officer Coleman’s leak to

the public, that the Chief, James Davis has issued this proceedings of questioning and the

polygraph test (Lie Detector test). Plaintiffs contend that ( Internal Affairs of Jackson

Police Department reports and is under the direct authority of the Chief, James Davis).

80. Sadly, it followed that Plaintiff Ucona Carter, the detention jail officer whom was

one of the many person on duty at the City of Jackson’s jail the day that Officer Mark

Coleman was arrested, ended up being the fall “guy,” for the blood hunt of a woman

whom told the media and public about officer Mark Coleman’s arrest, at least to Chief

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James Davis. Please see exhibit O, the Internal Affairs signed and executed by Chief

James Davis termination letter to Plaintiff Ucona Carter, a detention jail officer whom

was one of the many on duty the night that officer Mark Coleman’s arrest, but whom was

bullied, harassed, tricked to take a polygraph test, retaliated, and fired without warning by

Chief James Davis in or around September 2020. Strangely, Plaintiff Ucona Carter’s

exhibit O reveals the original termination letter from Chief James Davis where it appears

that a committee recommend for her to receive [30] days off but liquid white out was

placed over it and the words terminated in its place.            As such, Plaintiff Carter

constitutional violation claims clearly shows established law and that the named

Defendants did not act as a reasonable Police Chief, Mayor, and even the City of Jackson

acted in compliance with the sex discrimination laws when they targeted out females

under their authority.

81. Additionally, Plaintiff Rakasha Adams, even though has shown other details of being

treated differently in previous mentioned paragraphs, contend that she was targeted by the

same Defendants in their individual and professional capacity all because she is a female.

Plaintiff ask that the reader review the countless memorandums filed with the City of

Jackson stating facts of being discriminated against all because she is a female. Please see

Exhibits G and H. Plaintiff Adams personal encounters of being placed in uninhabitable

work place conditions that she was not able to go to a sanitary ladies restroom, no breath

in clean air work environments but where male co-workers were not subject to the same

workplace harassment by these same bad actors.

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      82. Moreover, Plaintiffs Rhonda Daniels and Pamela Rigsby both complains not only

      that they were treated differently than the men police officers because of their protected

      status as s female, but also because Plaintiffs Rhonda Daniels and Pamela Rigsby are also

      Gay.

      83.    Plaintiffs Rhonda Daniels, and Pamela Rigsby were Detectives for the City of

      Jackson24 and was forced to work at the City’s Impound Lot that might be over [50] acres

      in size and full of    abandoned, repossessed vehicles, and others property. Please see

      exhibit P. This exhibit shows the degrading circumstances that these women were faced

      with patrolling and page two of exhibit P reveals that there is NO LIGHTING on the

      nearly 50 acre lot, Plaintiff Rhonda Daniels and Pammela Rigsby had to relieve

      themselves of waste in and behind car doors, even though the City of Jackson had a

      building with restrooms inside, these same Defendants as claimed under sex

      discrimination would not share a key to enter the building. Plaintiff Rhonda Daniels and

      Pam Rigsby both contend that not only was their no restrooms facility provided by their

      employer, the named Defendants under sex discrimination, but because the grass was not

      maintenance with cutting, snakes and rats and other wild animals were seen on the

      property causing a great fear for these two Plaintiffs to properly secure a spot (within the

      City of Jackson Impound Lot, which is located within the City of Jackson) to properly

      use the restroom.     Plaintiff contend that neither of the Defendants wives nor female

      24 As stated in previous paragraphs Rhonda Daniels due to the severe ill treatment by
      Defendants based on her sex and being gay, requested to be back on the streets as a patrol
      o cer and Pamela Rigsby also due to the disparate treatment of being a woman and gay,
      retired from JPD due to the stress causing severe emotional distress.

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children would have been subjected to such harsh treatment by Defendants so it was

unimaginable exactly why would they be put in that conditions for [8] HOURS SHIFTS

though the night till morning of the next day. Plaintiff contends that the mental anguish

of suffering through such severe decency has aggravated their emotional distress.

84.         Furthermore, Plaintiff Rhonda Daniels and Pammela Rigby statements appear to

solidifies Plaintiffs Melvin Williams claims( please see exhibit Q) where Plaintiff Melvin

Williams sought immediate attention to the matter of snakes and rodents, being shot at by

thieves. According to these [3]Plaintiffs their lives were in great danger, thereby causing

additional emotional stress, as they warned Defendants listed under sex discrimination25

complaint that theft was on a rampage at the impound lot which is why certified police

persons were required to be the security guard for the lot. In fact, pursuant to Rhonda

Daniels and Melvin Williams, they have reported being shot at while on the midnight

shift security details.26 This City Impound Lot, although upon information and belief and

during all times of Plaintiffs claims including through the year of 2018-2020 is under the

budget of the City of Jackson’s Public Works Department, and NOT the Police

Department, as such, it is not certain why Plaintiffs lives would be in such harms way

when their work is not classified as a servant of the public works department, rather the

police department.

25 Here again Plaintis are attempting to not be redundant in renaming the defendants when we
are already speaking of a particular right, the defendants are the same under that claim if it so
please the court.
26 Please see Melvin Williams memorandum to the Defendants about life threatening conditions
that these Plainti s were required to work in while on security detail of the nearly 50 acre
impound lot of the City of Jackson.

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     85. Plaintiff Rhonda Daniels and Pammela Rigsby both avers that at no time relevant to

     their suit was a key to the building was provided to them so that they could use the

     restroom as any other female police officer in other areas and certainly as the Defendants

     named in this portion of this suit had privileges to use during any given day of working

     for the The City of Jackson.

     86. Plaintiff Rhonda Daniels, Tammie Heard and Pammela Rigsby even expound further

     on the being treated different due to her sex and sexual orientation when she contend that

     Mayor Lumumba even met with the Jackson Police Officers, including these women

     regarding why the MORALE27 at the City of Jackson Police Officers was extremely low.

     There the Mayor told the officer that he knew that the then Deputy Chief Tina Wallace

     (upon information and belief Wallace has since retired), and James Davis lack of

     management skills over Tina Wallace was at issue. There the Mayor promised Plaintiffs

     that he was going to terminate28 Tina Wallace so that the MORALE of the officers could

     improve. He did not, and the MORALE under Chief James Davis, Deputy Chief Deric

     Hearns, Deputy Chief Vincent Grizzell                and the Mayor’s administration has actually

     gotten worst, at least as claimed by these Plaintiffs. Additionally, upon information and

     belief, during a year end meeting with certain City of Jackson Counsel members, Chief

     27 All Plainti
                 s contend that the morale of the City of Jackson Police O cers, especially the
     reason thereof, should have been the job of the Police Chief, but as alleged by all Plainti s,
     Mayor Lumumba has met with Plainti s during their o cial time with the City of Jackson and
     spoke of speci c police issues that he intends to resolve. Plainti is assured that the minutes
     from those meetings reveals the same, even though witnesses will corroborate this fact.
     28 Here again, the Mayor is shown operating as the chief of police and making promises that

     are or should not be his purview as a Mayor. Plainti s contend the evidence is res ipsa
     loquitur.

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               James Davis was told in open forum by Plaintiff Rhonda Daniels that he was lying to the

               councilmen about the City of Jackson Police Department MORALE was good, in fact, it

               is believed that Rhonda Daniels came to speak behind Chief James Davis and stated to

               the City of Jackson’s councilmen “that man just lied to ya’ll.

               87.    As a result, of believing and trusting in the Mayor’s promise to make the female

               police officers work environment free from hostility and, female Plaintiff’s police officers

               being treated as the men police officers, each Plaintiff, under this sex discrimination

               heading, earnestly believe that the Mayor breached that promise and is allowing the Chief

               of police and his deputies to negligently and recklessly inflict emotional distress onto

               them because Plaintiffs Tammy Heard, Rhonda Daniels, Mammie Burnett and Pammela29

               Rigsby are females whom happens to also have their sexual orientation as gay.

               88. To continue with the sex and sexual orientation violations Plaintiff Pamela Rigby, a

               white(Caucasian) gay and married female officer whom has now retired due to the daily

               consistent constitutional violations of discriminating against her based her sex, sexual

               orientation and race(please see exhibit R) by The City of Jackson through its Mayor

               Lumumba, individually and personally, The Jackson Police Department for failing to

               adhere to its own policy of sex, sexual orientation and race discrimination practices as

               shown in Plaintiffs claims, Mayor Lumumba professionally for failing to enforce the

               written policy and procedures of this constitutional violation of which he should be the

               29 Plainti s Mamie Barrett and Pammela Rigsby are white females and married. These
               Plainti s contend that not only was their race, and gender was at issue in this matter but the
               fact that they were also legally married seems to have caused these named Defendants to treat
               them di erently.

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reasonable standard of a sitting mayor knew or should have known required or forced

sex, race and sexual orientation discriminatory practices and patterns in the workplace

violates the constitution, Chief James Davis, Chief James Davis professionally and

personally whom also has a duty to known that sex, sexual orientation and race

discrimination patterns and practices are prohibited under constitution Defendant E.

Bradley Lumumba aka(Hondo), professionally and personally, whom consistently or on a

daily basis gave advise, told, directed, instructed, informed acts as a certified City of

Jackson Police personnel to the Chief of Police, James Davis, and Deputy Chief Vincent

Grizzell and Deric Hearn professionally and personally. Plaintiff Rigsby contends that

she was promoted to property crimes as an investigator with the rank of detective on

January 5, 2015. Plaintiff avers that upon assignment she was one of two white detectives

assigned to the unit. This Plaintiff can document the number of felony arrest she and

submitted to the Hinds County DA’s office in 2015=76 cases, 2016=98 cases, 2017=85

cases, 2018=170 cases, 2019=114 cases, and as of July 2020=41 cases. This Plaintiff

complained to the command staff        that the black fellow detectives were not being

assigned the same case load as she and that she felt like it was because she was a white

lesbian. Upon information and belief Chief James Davis allowed the supervisor whom

gave out the cases each day to go to lunch for hours at a time with the black detectives in

the unit, leaving the majority of the case load in Rigby’s hand. Plaintiff complained of

this unequal treatment all the way to Human resources but the matter was not remedied.

Instead, it got worst.   Mayor Lumumba held a meeting that Rigby attended whereby

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Rigby herself told the mayor that a black co-worker named Sharon Jordan has said that

she and the Mayor were good friends,(this co-worker and Plaintiff Rigby had several near

verbal fights in the department of which nothing was ever done),           until during the

meeting Plaintiff Pamela Rigby, in open meeting at the police academy, even told Mayor

that Sharon Jordan says you and she are best of friends and that even later, at the duration

of the meeting, Sharon Jordan was seen hugging the mayor to prove her point. Still

nothing was done about the racially indifference of the treatment of Rigby.      Please see

exhibit R, exhibits of Rigsby statements of gender, sexual orientation and race

discrimination.

89. Next, Plaintiff Candice Ingram was employed from 2002 and had always been only a

clerical person including Inventory Controller. At no time relevant to this suit was

Plaintiff Ingram ever a certified police woman for the City of Jackson Police Department,

neither did she carry a JPD Police gun, taser, or even a flashlight. Instead, Ingram was a

paper pushing employee. However, in performing this task as an inventory controller,

Ingram has to report stolen merchandise that officers, including the command staff might

have supposed to have been accountable for. As result, in a conspired effort to pressure

this woman to quit or to even terminate her, Defendants named hereto, began a rigorous

campaign to make Ingram’s job impossible to perform. First, in and around the year of

2019 Ingram was forced and required to act as a police woman for the City of Jackson

Impound Lot. Plaintiff Ingram made several request(please see exhibit W30) at page one.

30 exhibit W is out of numbering due to the use of its contents.



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Ingram daily insisted to these Defendants to remove her from acting as an officer in a

dangerous31 environment.

90. Plaintiff Ingram even wrote a memo on March 9,2020 stating that [10] gun shots

were fired on the Impound lot while she was forced to work an a police officer and

without any protection. Furthermore, Ingram stated in that 2020 memorandum to the

Defendants that she was forced to run and hide and call 911. Ingram is a single mother

and even stated that she feared for her life while being forced to work as a police officer.

Please see exhibit W at page two. Ingram feels that she suffered being shot as because

the named Defendants has a pattern and custom of practices of treating her in the ways

described because she is a woman.

91. Plaintiff Ingram further alleges that as far back as November 13, 2019 she made the

Defendants to know that the City of Jackson Impound Lot was severely plagued with

crime. See exhibit W at page [4]. There, Ingram describes a so real crime scene out of a

movie including suggesting that the three light poles in place were aiding the criminals

which might be why the lights are not in operations at all times relevant to all Plaintiffs

complaint and claims.

92.    Ingram provides compelling evidence in exhibit W at page [5] that she was

considered a civilian and not a police officer. There a memorandum from the City of

Jackson’s Commander of Support Services and support by Deputy Chief Vincent


31 The City of Jackson Impound Lot is one of the issues of snakes, exceedingly grass, rodents,
and wild stray animals, and high theft of cars and car parts by individuals shooting to steal
from the lot. Please see Melvin Williams, Rhonda Daniels and Pam Rigsby

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Grizzell, calling Ingram a “civilian.”   treat women differently than they do men.        ,

believes that she was targeted for being a female by these named Defendants because she

is a female.

93.    Plaintiff Ingram was even severely retaliated against because she is a female when

exhibit W at page [6] shows that Ingram sent a memorandum to the City of Jackson’s

EEOC, Eleanor Ballard on August 2, 2021 saying that she is being so severely bullied by

Commander Robinson until he keeps her on a body camera, moved her desk in the lobby

so that he can always watch her, and told her that Chief James Davis told him to target

her desk from others working within the Jackson Police Department whom desk were not

moved to invade the female’s right of privacy, and even told other employees of the City

of Jackson to follow her everywhere she goes, Plaintiff Ingram, states even to the

restroom. Ingram states that immediately prior to this non constitutional violation of her

14th amendment rights, she filed a grevience relating to work injuries of toxic fumes and

stress from the Defendants and Defendants decided to retaliate against her for filing her

lawsuit relating to the claims of discrimination based her sex(female). Please see exhibit

W @ pages 7 through 9.

94. Moreover, Plaintiff Ingram believes that she was targeted for sex discrimination by

all named Defendants under the claim of sex discrimination because she sent [3] different

memorandum to Commander Lee Robinson requesting reasonable accommodations due

to her health issues and environmental factors. Plaintiff Ingram even provided doctor

letters( see pages 11through 13) stating that she suffered from the ailments filed with the

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City of Jackson and that men whom have done the something did not get the sexist

treatment that she complains here. Please see exhibit W at page 10.

95. Last, Plaintiff Ingram like all the other Plaintiffs in this suit brings their action based

on the City of Jackson’s Grievance Policy dated March 30, 2015 and attached hereto as

exhibit X32 which states that “All parties involved in the grievance process….ARE NOT

to be subject to ANY form of RETALIATION. However, Plaintiff Ingram was retaliated

so severely that she was forced to resign from the City of Jackson and work for another

City where her protected Constitutional Class as a female was not violated upon like at

the City of Jackson.

The Law regarding sex, sexual orientation are notably found under:

 Congress noted ‘that the remedies available to the individual under Title VII are co-

extensive with the indiv(i)dual's right to sue under the provisions of the Civil Rights Act

of 1866, 42 U.S.C. s 1981 Johnson v. Ry. Exp. Agency, Inc., 421 U.S. 454, 459, 95 S.

Ct. 1716, 1719, 44 L. Ed. 2d 295 (1975). Also found in the U.S. Supreme Court opinion

in Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 690–91, 98 S. Ct.

2018, 2035–36, 56 L. Ed. 2d 611 (1978) “ although the touchstone of the § 1983 action

against a government body is an allegation that official policy is responsible for a

deprivation of rights protected by the Constitution, local governments, like every other §

1983 “person,” by the very terms of the statute, may be sued for constitutional *691.



32 exhibit X is out of number for contents purposes




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96.    Likewise, Plaintiffs are the protected class of females, and Plaintiffs Rigby, Heard

and Daniels sexual orientation class is also protected. The facts prescribed above and in

these Plaintiffs exhibits clearly shows that they were targeted as females and for being

gay and in the instance of Plaintiff Pammela Rigsby and Mamie Barrett they were even

targeted for their race of being Caucasian. Plaintiffs contend that they have demonstrated

that not only was the constitutional established at all times relevant to this suit, but even

that these Defendants knew and had a duty to know that their actions violated a

reasonable person[s] standard as required by law. Moreover, even the state of Mississippi

jurisprudence regarding constitutional violations      have followed 5th Circuit’s    settled

constitutional laws holding:.“To establish municipal liability pursuant to § 1983, a

plaintiff must demonstrate three elements: a policymaker; an official policy, and a

violation of constitutional rights whose moving force is the policy or custom.”

Shumpert v. City of Tupelo, 905 F.3d 310, 316 (5th Cir. 2018) , Grant v. Washington

Cty., Mississippi, 4:19-CV-5-DMB-JMV, (N.D. Miss. Sept. 30, 2020).

97. Plaintiffs also assert that Equal protection clause of The Fourteenth Amendment's

Equal Protection Clause provides that “[n]o state shall ... deny to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. A plaintiff

asserting an Equal Protection Clause claim under § 1983 “must either allege that (a) a

state actor intentionally discriminated against him because of membership in a protected

class, or (b) he has been intentionally treated differently from others similarly situated



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and that there is no rational basis for the difference in treatment.” Gibson v. Tex. Dep't of

Ins.-Div. of Workers' Comp., 700 F.3d 227, 238 (5th Cir. 2012).

98.   In this case each female Plaintiff Heard, Daniels, Rigsby, Adams, Bolden, Carter,

and Barrett have all demonstrated facts with supporting evidence that they are a member

of the protected class as identified by congress and that the named defendants

intentionally and/or recklessly treated each of them different in the workplace because

they are females, and/or gay, and/or white in their race.

99. Therefore, there is no immunity protection pursuant to the laws already cited in this

complaint that can shield these Defendants from the claims sought in district court.

100. The Constitutional Claim of Race Discrimination

101. The violators of Race Discrimination are:

 The City of Jackson through its Mayor Lumumba, individually and personally, The

Jackson Police Department for failing to adhere to its own policy regarding Race

Discrimination practices as shown in Plaintiffs claims, Mayor Lumumba professionally

for failing to enforce the written policy and procedures of this constitutional violation of

which he should be the reasonable standard of a sitting mayor knew or should have

known his administration is required to enforce prohibition of race discrimination

patterns and practices in the workplace and to ensure that his Chief of Police was

following the constitutional in practice and pattern, Chief James Davis professionally and

personally whom also has a duty to known that race discrimination practices is prohibited

under the U.S. Constitution, Defendant E. Bradley Lumumba aka(Hondo), professionally

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and personally, whom consistently or on a daily basis gave advise, told, directed,

instructed, informed acts as a certified City of Jackson Police personnel to the Chief of

Police, James Davis regarding the Police Departments duties including sex, race and

sexual orientation of Plaintiffs, and Deputy Chief Vincent Grizzell and Deric Hearn

professionally and personally whom were all apart of the conspiracy regarding Plaintiffs

racial profile and the duty to violate that racial profile.

102. The Facts that demonstrate Racial Discrimination against Plaintiffs Robert Watts,

Garry Author, Keith Freeman, Mamie Barrett and Pammela Rigsby are all

Caucasian(White men and women) of the European decent.            But in the eyes of civil

justice, they are citizens of the United States of America and deemed to be entitled to the

same rights and privileges as any other citizen. First in this case,    is Keith Freeman

whom believe that he was treated differently while working from 2017-2019, based on

his race, Caucasian white policeman.       Freeman has attached exhibit S of actual events

regarding his claims.       Plaintiff Keith Freeman contend that Defendant James Davis

allowed certain black police officers, such as Tina Wallace, to get her/their deferred

company time, but when Keith Freeman respectfully sought the same treatment he was

denied. Plaintiff Freeman is adamant that he was treated differently for no other reason

than the fact that he is a Caucasian(white) male and that he is/was at all times relevant

from 2017 through 2019 while working for JPD. Plaintiff Freeman alleges that the City

of Jackson, Jackson Police Department and each Defendant named under race

discrimination(Please see exhibit S) Freeman’s EEOC racial discrimination charge

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against the City of Jackson. Freeman contends that the named Defendants conspired and

swindled around $50,000 of deferred time that legally belonged to him, and where the

same legal time and money was given to each and every Black person whom requested

the same at retirement or leaving JPD just as Freeman did for his retirement. Freeman

avers that upon information and belief from the City’s personnel whom gave the

information to Freeman,    Chief James Davis during a conspiracy with the other named

Defendants in this case denied Freeman’s rightfully earned money and time simply

because Freeman is a (white)man. Plaintiff Freeman further contend that he provided a

written request for his deferred time of which witnesses Sonya Bozeman and David

Marsalis whom were the physical affairsI(payroll personnel) whom provided Plaintiff

Freeman with the amount of monies and time due to him.

103. Next, is Plaintiff Plaintiff Garry Arthur a Caucasian(white) male JPD policeman

since 2001 but whom has recently quit/retired from JPD due to the consistent racial

disparity of treatment from the named Defendants under this section fo racial

discrimination. Garry Arthur assert that during all relevant times to this lawsuit from

beyond 2017 until his leaving his post as a police officer under the City of Jackson, he

was the target of racial discrimination by these Defendants. Plaintiff contend that these

Defendants forced Plaintiff to work in the Accident Reconstruction Investigations all

while knowing his disability of PTSD would be exacerbated and tightened by the mere

duties of the job as shown below. Plaintiff contend that he was diagnosed with PTSD due

to the horrific deaths he had seen as a reconstruction investigator and that these

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Defendants were made aware of the same but refused to relocate Plaintiff because of his

race, Caucasian.

104.     Plaintiff further contend that he was denied by these same Defendants to attend

training school for accident reconstruction and that such training was recommended in

law enforcement scholars across the country.            Arthur avers that every accident

reconstruction investigator should attend at least 40 hours of continued training to be able

to testify in court regarding his investigation. However, these Defendants denied Arthur

the opportunity for the continuing training, but did allow Michael Outland(BLACK

MALE OFFICER WITH LESS EXPERIENCE AND YEARS WITH JPD to attend

the class. Plaintiff Arthur avers this too was simply because he is a Caucasian(white

male). Otherwise, since there are only these two individuals in the division and Plaintiff

Arthur was more skilled in the field as well as seniority with JPD, a reasonable person

would consider the constitutional violation and prohibit the race discrimination, again

there is no other legitimate reason found here.

105. Moreover to express the kind of undue pressure from the same named Defendants,

Plaintiff Arthur asserts that he believes he was being targeted by racially motivation by

these Defendants because Plaintiff in November 2015 disagreed with the then chief of

police, Lee Vance change an official report that Plaintiff wrote stating that an intoxicated

pedestrian likely was at fault in a car accident that resulted in the death of the pedestrian.

Plaintiff contend that he was forced to change a report to save face for the bad behavior

of the chief of police at that time and some of the other command staff. Plaintiff was told

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he was not a team player and since then Plaintiff has been treated differently because he

is Caucasian(white) male and would not go alone with the bad black male actors. Please

see Exhibit T, at ❡2 where Arthur states that: “JPD has consistently treated me different

than Black Officers including when I was denied a new take home vehicle even though

the JPD policy is new take home vehicles are to be assigned by seniority. The take home

vehicle I was supposed to be assigned went to another officer with less seniority than I

had and HE WAS A BLACK OFFICER.” Arthur also added that “every single year up

to and including the year of 2020, when they got new vehicles he had been denied a new

take home vehicle and that at that time there were black officers with half the time and

experience on the job whom received brand new take home vehicles which violates the

City of Jackson policy and procedures of Seniority. As such, Arthur avers that there was

no other legitimate reason other than the color of skin(white) that he was treated

differently.

106.     Moreover, Arthur depicts another instance of the racial discrimination by these

named Defendants including the City of Jackson, Jackson Police Department whereby

Arthur passed the accident reconstruction school program, but was forced into an

investigation unit that he did not apply for but where during the same time period

BLACK OFFICERS whom also desired not to be in that same unit was not forced to

work such units. Plaintiff Arthur contends that he should have been given seniority status

over several BLACK OFFICERS in this situation, but was not because he was a white

male.

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107.      Plaintiff Arthur avers that even more outlandish is the fact that as part of

investigations reconstruction, his work schedule had always been Monday through

Friday, either 7 o’clock a.m. to 3 o’clock p.m. and more recently in 2020 8 o’clock a.m.

to 4 o’clock p.m. and that he would have call out when it was his turn on the rotation

which then was every other week because there is only two people qualified in the City of

Jackson to work accident reconstruction, Plaintiff Arthur and (Black Officer) and created

position of Acting Sergeant,33 Micheal Outland whom had not been on JPD longer than

Arthur.      Arthur even avers that JPD paid for Michael Outlander to attend the

reconstruction training classes, and Arthur even told Defendants they he will pay for the

classes out of his own pocket, but the racial discrimination still advanced the BLACK

MALE officer, Outlander. Plaintiff Arthur contend that he was never given even a verbal

hint that there was an opening for acting sergeant in the reconstruction unit and since

their were only [2] people in the unit even a oral communication of the opening should

have been presented to both candidates. Further, since Plaintiff Arthur had been on the

JPD force longer than Outland and with more experience, he was more qualified for the

position, but Defendant Chief James Davis professionally and personally, along with the

other named Defendants under this racial discrimination section of this suit, gave the un-

posted sergeant position to a BLACK MALE, reconstruction investigator,Outlander, for

no there reason but that he is a BLACK MALE. Arthur contends that it appears that


33 Arthur represents the same claims as all of the Plainti  s regarding the constitutionally
violation of “acting sergeant.” Arthur states that he was not provided an opportunity to hold
this position just as the other Plainti s are complaining in this suit.

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                                          ff
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these same named Defendants under racial discrimination section of this suit conspired

together for this unconstitutional violation of race discrimination that caused Arthur to

suffer the more from PTSD and other emotional distress, but also embarrassment,

humiliation, and even intimidation he decided to speak against this racial discrimination

by these Defendants. Plaintiff Garry Arthur even contend that qualified and white police

officer with JPD were often discarded by Mayor Lumumba who tended to encourage

Black people in acting sergeant positions in contrast to Caucasian White males.

108. Additionally, Plaintiff Arthur contend that for about six months to a year he was not

on call he was forced to stay in and near the City of Jackson in case he got called out

which left no personal family time nor opportunity to properly do the things required by

his PTSD management and importantly with no extra pay fo when he did get called out.

Plaintiff Arthur avers that over at least three years he was short approximately $30,000 in

overtime pay, but BLACK MALES in other units with similar call outs, only had the

duty of call out once a month or once every two months. Again, Plaintiff Arthur says this

racial discrimination by all named Defendants was daily and consistent and all while

these Defendants knew or should have known that such unconstitutional violation was

against the grains of the U.S. Constitution of which the Mayor himself spoke of during

several of his campaign speeches.34




34 Upon information and belief, Mayor Lumumba spoke of ending unequal treatment of the City
of Jackson employees.

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109.    Plaintiff Arthur believes that this racial discrimination violations against him was

commenced as far back as Thanksgiving Day of 2015 when Arthur was called out on a

reconstruction35 accident at the corner of McDowell Road and Belvedere Drive in

Jackson where a person death occurred. The then Chief of police, although James Davis

was then Deputy Chief of Police over patrol, whom communicated with Plaintiff Arthur,

seems to have requested that Arthur file charges against innocent person as favors to

influential person[s] in the black community at that time. Plaintiff Arthur avers that since

that time he has been shown nothing short of race discrimination, bullying and

intimidation by the City of Jackson and the named defendants. Plaintiff Garry Arthur’s

sworn affidavit is attached hereto as exhibit T.

110.    Next, Plaintiff Robert Watts is another Caucasian(white) male officer whom was

targeted by The City of Jackson through its Mayor Lumumba, individually and

personally, The Jackson Police Department for failing to adhere to its own policy

regarding Race Discrimination practices as shown in Plaintiffs claims, Mayor Lumumba

professionally for failing to enforce the written policy and procedures of this

constitutional violation of which he should be the reasonable standard of a sitting mayor

knew or should have known his administration is required to enforce prohibition of race

discrimination patterns and practices in the workplace and to ensure that his Chief of

Police was following the constitutional in practice and pattern, Chief James Davis

professionally and personally whom also has a duty to known that race discrimination

35 Reconstruction in this context will typically mean Auto Reconstruction



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practices is prohibited under the U.S. Constitution,       Defendant E. Bradley Lumumba

aka(Hondo), professionally and personally, whom consistently or on a daily basis gave

advise, told, directed, instructed, informed acts as a certified City of Jackson Police

personnel to the Chief of Police, James Davis regarding the Police Departments duties

including sex, race and sexual orientation of Plaintiffs, and Deputy Chief Vincent

Grizzell and Deric Hearn professionally and personally whom were all apart of the

conspiracy regarding Plaintiffs racial profile and the duty to violate that racial profiling as

far back as 2019.

111. Watts as a result of being racially discriminated against by these actors, was forced

to seek employment as a police officer in another state because he simply could not deal

with the racist acts of Chief James Davis and the named Defendants. Plaintiff Watts was

employed as a JPD Officer in 2006, and later, due to discriminatory practices and patterns

of JPD Watts resigned.       However, Watts sought to return to JPD as a crime scene

investigator with a stellar record as noted in exhibit U. Watts request fell within the

guidelines of JPD General Orders making his denial of no legitimate purpose except his

race.      Plaintiff Watts contend that as far back as 2016 when James Davis was Deputy

Chief of Patrol, the City of Jackson stated that Watts was under federal investigation at

the time of his resignation, but the pretext excuse not to hire Watts back was simply

untrue. Please see page 2 of exhibit U, a letter from the Federal Bureau of Prisons dated

October 31, 2016. During such pretext of racial discrimination Watts applied for the

Federal Bureau of Prisons and was sent an inquiry of availability the same year and was

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given a final offer of employment for the federal agency. Watts avers that he then and

now still has federal security clearance with the Department of Justice which Watts

contend that these Defendants simply were giving false information, to bully, and

discriminating against him because he was a Caucasian(white) male.

112. Then in 2019 and while applying to re-instate with JPD, Plaintiff Watts states that

Chief James Davis told him that the 58th class of new officers whom graduated

November 22, 2019 were racially divided.       However, there was not even one white

person that graduated with that class. Also, the JPD 59th class of JPD officers whereby

JPD graduated [10] new officers and none of these officers were White in race, instead all

Black. Plaintiff Watts, grieved by this apparent racial discrimination against him whom

was highly qualified for the position of patrolman, yet alone crime scene investigator,

even filed a complaint for racial discrimination with the EEOC whom the City of Jackson

EEOC replied as shown on pages 3 through 6 of exhibit U. Plaintiff Watts contend that

there is no legitimate reason for these Defendants not to re-instate him as a JPD officer

and upon information and belief all Defendants named under race discrimination here,

met and discussed the not allowing Plaintiff Watts knowing that they are likely violating

the constitutionally by discriminating against Plaintiff Watts because he’s not BLACK,

instead, his race is White.

113. Next, Plaintiff Pammela Rigsby, whom also brings claims at ❡[88] under sex and

sexual orientation claims, brings this her claims under race discrimination demonstrate

her facts of race discrimination by The City of Jackson through its Mayor Lumumba,

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individually and personally, The Jackson Police Department for failing to adhere to its

own policy of race discrimination practices as shown in Plaintiffs claims, Mayor

Lumumba professionally for failing to enforce the written policy and procedures of this

constitutional violation of which he should be the reasonable standard of a sitting mayor

knew or should have known required or forced racial discrimination practices customs

and patterns in the workplace violates the constitution, Chief James Davis, Chief James

Davis professionally and personally whom also has a duty to known that race

discrimination patterns and practices are prohibited under constitution Defendant E.

Bradley Lumumba aka(Hondo), professionally and personally, whom consistently or on a

daily basis gave advise, told, directed, instructed, informed acts as a certified City of

Jackson Police personnel to the Chief of Police, James Davis, and Deputy Chief

Vincent Grizzell and Deric Hearn professionally and personally as it relates to race

discrimination against person[s] of the Caucasian race. Plaintiff Rigsby contends that

she was promoted to property crimes as an investigator with the rank of detective on

January 5, 2015.    Plaintiff avers that upon assignment she was one of two white

detectives assigned to the unit. This Plaintiff can document the number of felony arrest

she and submitted to the Hinds County DA’s office in 2015=76 cases, 2016=98 cases,

2017=85 cases, 2018=170 cases, 2019=114 cases, and as of July 2020=41 cases. This

Plaintiff complained to the command staff that the black fellow detectives were not being

assigned the same case load as she and that she felt like it was because she was a white

lesbian. Upon information and belief Chief James Davis allowed the supervisor whom

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gave out the cases each day to go to lunch for hours at a time with the black detectives in

the unit, leaving the majority of the case load in Rigby’s hand. Plaintiff complained of

this unequal treatment all the way to Human resources but the matter was not remedied.

Instead, it got worst.   Mayor Lumumba held a meeting that Rigby attended whereby

Rigby herself told the mayor that a black co-worker named Sharon Jordan has said that

she and the Mayor were good friends,(this co-worker and Plaintiff Rigby had several near

verbal fights in the department of which nothing was ever done), until during the meeting

Plaintiff Pamela Rigby, in open meeting at the police academy, even told Mayor that

Sharon Jordan says you and she are best of friends and that even later, at the duration of

the meeting, Sharon Jordan (the Black employee) was seen hugging the mayor to prove

her point.   Still nothing was done about the racially indifference of the treatment

against Rigby. Please see exhibit R, Plaintiff Pammela Rigby’s statements.

114. Next, Plaintiff Mamie Barrett, a Caucasian(white) female Police Officer claims of

racial discrimination by by The City of Jackson through its Mayor Lumumba,

individually and personally, The Jackson Police Department for failing to adhere to its

own policy of race discrimination practices as shown in Plaintiffs claims, Mayor

Lumumba professionally for failing to enforce the written policy and procedures of this

constitutional violation of which he should be the reasonable standard of a sitting mayor

knew or should have known required or forced racial discrimination practices customs

and patterns in the workplace violates the constitution, Chief James Davis, Chief James

Davis professionally and personally whom also has a duty to known that race

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discrimination patterns and practices are prohibited under constitution Defendant E.

Bradley Lumumba aka(Hondo), professionally and personally, whom consistently or on a

daily basis gave advise, told, directed, instructed, informed acts as a certified City of

Jackson Police personnel to the Chief of Police, James Davis, and Deputy Chief

Vincent Grizzell and Deric Hearn professionally and personally as it relates to race

discrimination against person[s] of the Caucasian race, when Plaintiff Mamie Barrett

was one of maybe [2] crime scene investigators and complained time and again about the

severe need for help just to complete horrific crime scenes and tho preserve evidence.

Plaintiff as a Caucasian(white)woman believes that she was treated differently than the

BLACK MEN when named Defendants did not provide Plaintiff Barrett with the bare

necessities of her job as a crime scene investigator for the City of Jackson HOT WATER

AND WATER PRESSURE to process bloody and otherwise items containing biohazards

material, no gloves were provided from these Defendants either. Instead, Plaintiff admits

that she had to beg ambulance drivers for gloves just to do her job for the Jackson Police

Department. Plaintiff avers that several Black Male Officers had gloves at all times

relevant to the COVID-19 Pandemic Please see exhibit V. Plaintiff Barrett states that

Chief Davis improperly attacked her about her work in reference to the “Bully case.36”

Please see Exhibit V statements from Barrett. Barrett states that during this meeting with

36 Greta Bully case was a highly publicized case where Bully was accused of killing an unarmed
man at her liquor store. Upon information and belief the local media had questions for Mayor
Lumumba and Chief Davis as too will Bully be given preferential treatment for what they called
was a senseless murder. Chief Davis seems to have responded with threatening Barrett as
shown further. It should be noted that the Bully case has since then be tried and Bully, upon
information and belief did not receive any jail time, instead, maybe house arrest.

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Chief James Davis and Deputy Chief Vincent Grizzell present, she was asked why she

did not take a revolver, which was recorded by another officer on scene and log it in with

the evidence she recovered on the scene. Plaintiff Barrett explained to him that the

procedure is if an officer recovers something on scene we let that officer log the evidence

in and write a report. Chief James Davis continued to ask Plaintiff Barrett the same

question in a different manner and Plaintiff states that she explained to Defendant Davis

that she actually lost evidence in a murder trial by recovering a knife from a sergeant on a

scene who stopped a suspect from destroying evidence and wrote a report to explain

chain of custody. However, Chief Davis stated to her in from of Deputy Chief Grizzle,

“well I’m sorry you are not properly trained to do your job.” Plaintiff contends that

these two Defendants caused her a great deal of embarrassment and emotional distress.

Plaintiff contend that neither of those Defendants would have treated a male nor a Black

policeman like they treated her and she believes that such harassment treatment was due

to the fact that she is a white woman. Plaintiff contend that she told them that she works

under harsh sometimes unbearable conditions, she follows death, she looks into the eyes

of the victims and hold their hands, she introduces herself to the bleeding and stab

wounded individuals, sometimes someone’s child, and due to all of this she has to make

herself numb to her surrounds and try at the end of the day to go home hoping she has

done the job that she was trained to do for over 15 years. Please see exhibit V.

Now the Law regarding Race Discrimination:            The Fourteenth Amendment's Equal

Protection Clause forbids a state from “deny[ing] to any person within its jurisdiction the

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equal protection of the laws.” U.S. Const. Amend. XIV, § 1. “Title VII is the exclusive

remedy for a violation of its own terms, [but] when a public employer's conduct violates

both Title VII and a separate constitutional or statutory right, the injured employee may

pursue a remedy under § 1983 as well as under Title VII.” Southard v. Tex. Bd. of

Criminal Justice, 114 F.3d 539, 549 (5th Cir. 1997).

When, however, unlawful employment practices encroach, not only on rights created by

Title VII, but also on rights that are independent of Title VII, Title VII ceases to be

exclusive. At this point, § 1983 and Title VII overlap, providing supplemental remedies.

Id. (quoting Johnston v. Harris Cty. Flood Control Dist., 869 F.2d 1565, 1573 (5th Cir.

1989)). See, e.g., Hervey v. City of Little Rock, 787 F.2d 1223, 1233 (8th Cir. 1986)

(permitting a plaintiff whose Title VII claim was time-barred to pursue an Equal

Protection claim for employment discrimination); Hamilton v. District of Columbia, 720

F. Supp. 2d 102, 111 (D.D.C. 2010) (collecting cases permitting plaintiffs to file an

employment discrimination claim under § 1983).Kabir v. Singing River Health Sys.,

1:19CV412-LG-RHW, (S.D. Miss. Dec. 9, 2019.

Furthermore, 5th Circuit opined that “To establish municipal liability pursuant to § 1983,

a plaintiff must demonstrate three elements: a policymaker; an official policy, and a

violation of constitutional rights whose moving force is the policy or custom.” Shumpert

v. City of Tupelo, 905 F.3d 310, 316 (5th Cir. 2018) (internal quotation marks omitted).

116.     Likewise, Plaintiffs have asserted racial inequalities that goes against the

constitution as related to discriminating against a person based on their race, as such there

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     can be no immunity for a state actor when there was an established law in place at the

     time of the act and no reasonable person in like place as these Defendants would have

     violated those known protected constitutional rights.

     117. The Law as held to prove conspiracy is “To prove a conspiracy under § 1983, a

     plaintiff must allege facts that indicate (1) there was an agreement among individuals to

     commit a deprivation, and (2) that an actual deprivation occurred.” Jabary v. City of

     Allen, 547 F. App'x 600, 610 (5th Cir. 2013) (citing Cinel v. Connick, 15 F.3d 1338, 1343

     (5th Cir. 1994)). Here, Plaintiffs thought each federal claim has made specific showings

     of an agreement to violate Plaintiffs right as a female, their race and sexual orientation

     therefore, the elements of conspiracy is found.37

     118. Furthermore, 5th Circuit also held that: “ In § 1983 conspiracy “claim need not

     [meet] a ‘probability requirement at the pleading stage; [plausibility] simply calls for

     enough fact [s] to raise a reasonable expectation that discovery will reveal evidence of

     illegal agreement.’ ” Jabary, 547 F. App'x at 610 (quoting Twombly, 550 U.S. at 556, 127

     S. Ct. 1955). Plaintiffs' “facts, when ‘placed in a context ... [must raise] a suggestion of a

     preceding agreement, not merely parallel conduct that could just as well be independent

     action.’ ” Id. (quoting Twombly, 550 U.S. at 557, 127 S. Ct.

     119.     Plaintiff in this case has provided specific instances of conspiracy between those

     Defendants named under that constitutional violation.



     37 Plainti
              s are attempting not to be redundant when they have already established conspiracy
     and pointed to it in previous paragraphs.

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      120.     STATE CLAIMS of misrepresentation, misuse of a legal proceeding, joint

      tortfeasors, strict liability, negligence, negligence per se, negligent hiring, negligent

      retention, negligent supervising, intentional infliction fo emotional distress, negligent

      infliction of emotional distress, breach of contract, conspiracy, fraud, strict liability,

      and mental anguish.

      121. The Violators are The City of Jackson, Mayor Lumumba professionally and

      personally capacity, E. Bradley Lumumba aka. (Condo) in his professional and

      personal capacity, and The Jackson Police Department

      122.     Plaintiffs believe that upon information and belief, the Mayor’s uncle E. Bradley

      Lumumba aka.(Hondo) has a position that was never offered nor posted legally through

      the typical chains as stated in the City of Jackson’s General Orders. Plaintiffs all state

      hereto that no position of being the Mayors personal body guard was ever posted and

      when the Mayor hand picked a uniform policer38 Plaintiffs avers that the Mayor has [3]

      Body Guards all whom were privileged to OVERTIME and did not have to follow the

      clocking in and out requirements as shown in exhibit Z, a letter from Deputy Chief Deric

      Hearn stating that monies that are paid to Mayor Lumumba’s body guards are excluded

      from the requirements of reporting hours and time spent working. Such evidence appears

      to establish the fact that Mayor Lumumba, professionally and individually, E. Bradley




      38 O  cer Marcus Williams aka.Goat was placed into the Mayors body guard camp and was
      given the position of acting sergeant and upon information and belief that was in an e ort to
      increase his pay and not to mention his overtime pay with that increase.

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Lumumba, professionally and individually, Deputy Chief Deric Hearn professionally and

individually have conspired to violate not only the state claims of misrepresentation,

misuse of a legal proceeding, joint tortfeasors, strict liability, negligence, negligence

per se, negligent hiring, negligent retention, negligent supervising, intentional infliction

fo emotional distress, negligent infliction of emotional distress, breach of contract,

conspiracy, fraud, strict liability, and mental anguish, but also Plaintiffs 14th U.S.

Constitutional rights of equal treatment through § 1983, as well as           the Fair Labor

Standards Act because Plaintiffs were treated differently than those other City employees.

Plaintiffs contend that Mayor used taxpayers money that should have gone to the Police

officers for his personal use and gain and such conduct reviews a disparity in the

treatment of all employees of the City of Jackson.

123.     Plaintiffs further alleges that upon information and belief, each of these body

guards were paid exorbitant glorified security monies at the expense of Plaintiffs. Also,

those body guards during all times relevant to this lawsuit received payments and whom

had at all times followed Mayor Lumumba in a total of at least [3] Different SUV’S.

Plaintiffs for years have sought pay increases and other benefits but was told by the

Mayor and Chief James Davis, that there were no monies to accommodate their request.

However, exhibit AA are photos that reveal the facts relating to           Mayor Lumumba

motorcade of body guards on a regular business day in the small town of Jackson,

Mississippi but at the expense of tax payers and Plaintiffs. Plaintiffs avers that at different

speaking engagements all three of his Body Guards as well as [3] different SUV’s were

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always present and that include at nigh and at the City of Jackson’s City Counsel

meetings. Plaintiffs contend that Plaintiffs as tax payers themselves footed the bill for at

least an additional $200,000 in unnecessary payroll and expenses.39

124. Even more egregious is upon information and belief Mayor Lumumba’s uncle E.

Bradley Lumumba aka(Hondo) has           a HINDS COUNTY CONTRACT ALONG WITH

ANOTHER INDIVIDUAL WHOM IS ASSOCIATED WITH THE MAYOR, FOR THE

ANKLE BRACING OF adjudicating inmates in Hinds County. And upon further

information and belief, this Defendant was receiving payments from the City of Jackson

simultaneously while receiving money from this contract, which establishes Plaintiffs

state claim of Misrepresentation, misuse of a legal proceeding, joint tortfeasors, strict

liability, negligence, negligence per se, negligent hiring, negligent retention, negligent

supervising, intentional infliction fo emotional distress, negligent infliction of emotional

distress, breach of contract, conspiracy, fraud, strict liability, and mental anguish.

Plaintiffs avers that the issue with this contract is simple, it violates the City of Jackson

policy and procedure NO. 3.5 exhibit BB.

125. Furthermore, from 2017 through 2019 each Plaintiff has been forced to change their

normal scheduled day off from work into a day that the Mississippi State Fair paid the

City of Jackson and its police department certain earmarked monies for police officers to

work in uniform, gun and badge of which Plaintiffs did not receive. Upon information



39 The cars, payroll, gas and expenses of these unnecessary payment to these individuals is
paid for by the tax payers.

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     and belief these monies paid to Defendants, the City of Jackson and its police department

     were specified for ONLY the security of people attending the Mississippi State Fair.

     However, to this date, NOT even one of these Plaintiffs have received any money for the

     extra hours worked which each Plaintiff contend that the were tricked, forced, coerced,

     earned income converted, and deceived involuntarily of a change in their normal off day

     so that these Defendants could not have to pay them special pay for working the

     Mississippi State Fair, and instead, Plaintiffs additional work would now be called their

     regular work hours.            Furthermore, each Plaintiff avers that prior to this

     administration(Defendants The City of Jackson and the Jackson Police Department) any

     special events such as the Mississippi State Fair these named Defendants received money

     but did not pay Plaintiffs.    In short, it Plaintiffs contend that their earned income was

     fraudulently stolen, and these Defendants misrepresented the contract to give Plaintiffs

     their earned money that was in exchange for the labor worked at the Mississippi State

     Fair.     In fact, each Plaintiff avers that they have always been paid extra money for

     working an extra job for the Mississippi State Fair, but that the Mississippi Department of

     Agriculture.40

     126. Moreover, each Plaintiff further contend that the ST. PADDY’S DAY PARADE is

     another event whereby the City of Jackson and these Defendants conspired to steal

     money and hide the use of the money that was given to the organizers of the St. Paddy’s



     40 The Mississippi Department of Agriculture is the state entity that provides the funds for
     Plainti s payment for detail work performed by Plainti s.

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Day Parade, which upon information and belief Mr. Malcolm White might have been the

event organizer whom gave payment for the off duty police officers to work the parade.

Indeed, each Plaintiff, as shown in exhibit CC, was again told to switch their normal

days off and/or work in lieu of being paid for the St. Paddy Day Parade. Plaintiffs avers

that the document is res ispa locquitor. There the Defendants through the command staff

actually is found telling Plaintiffs that they expected the crowds to be as great as 200,000

people(please see exhibit CC at page , and that the organizer, Mr. Malcolm White would

be escorted in the parade by JPD motorcycle escort so that he could raise the money.

The parade is not a City of Jackson function, the proof that Mr. Malcolm White was

sponsoring it shows the same, please see page [1] of exhibit CC. Additionally, by sheer

view of exhibit CC at page [4 through 8] shows that the working this “weekend event,”

was outside of Plaintiffs normal work week, otherwise, Plaintiffs were working over 40

hours and the time would have had to been turned into overtime pay. Plaintiffs avers that

no such overtime was ever paid to them, neither the payment for the required working the

St. Paddy Day Parade. This reveals Plaintiffs state claims of misrepresentation, misuse of

a legal proceeding, joint tortfeasors, strict liability, negligence, negligence per se,

negligent hiring, negligent retention, negligent supervising, intentional infliction fo

emotional distress, negligent infliction of emotional distress, breach of contract,

conspiracy, fraud, strict liability, and mental anguish.

127. Plaintiffs contend that the bad conduct claimed in the above paragraphs is nothing

short of a conjured a Ponzi-scheme, trick, bedazzlement, procurement of bad ideas,

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Russian roulette, or just hustling of each Plaintiff and their families by each Defendant

named in this lawsuit.

128. Furthermore, each Plaintiff avers that a breach of contract occurred when Plaintiffs

had a verbal agreement with the City of Jackson, The Jackson Police Department and

Mayor Lumumba acted in ratifying through its Chief of Police, James Davis, and Deputy

Chiefs of Police Vincent Grizzell and Deric Hearn to conspire and coerce Plaintiffs with

the words that “each officer will be paid by monies from the the event organizers. The

agreement was to work for pay and the payment was never received therefore, the oral

contract was violated with the conspirators of the violation as named hereto.

129. Plaintiffs avers that they have not been paid the due overtime payroll payments

when they each worked over [12] hours shifts due to the City of Jackson shortage of

certified police officers and detectives which there again violates the General Orders of

the City of Jackson Police Department exhibit DD, which states that a workweek for the

Jackson Police Department is [40] hours, please see exhibit DD. Troubling to the City of

Jackson GENERAL ORDED NO. 200-26 admission of knowledge, is that fact that the

same document shows that the City of Jackson knew the Fair Labor Standards Act, but

chose to violate the same as claimed in this suit by all Plaintiffs. More atrocious to the

knowledge of the violation of the Fair Labor Standards Act, is the fact that Defendants

required Plaintiffs to switch their normal work days off and forced each Plaintiff to use

the substitute the extra over-time pay for Deferred Time and/or Comp. time. But the City

of Jackson and the Jackson Police Department through its chief of police, James Davis

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     and Deputy Chief of Police Vincent Grizzell and Deric Hearn would not allow Plaintiff

     Keith Freeman, upon retiring due to the racial discriminatory acts by all Defendants, to

     have not even one dollar of his earned pay.              Please see Keith Freeman’s racial

     discrimination claims in the preceding paragraphs.

     130. Plaintiffs avers that forcing COMP TIME in lieu of payment is that the COMP

     TIME cannot be guaranteed pay if the Plaintiff separates from the City of Jackson. In

     short, they just worked for nothing. Plaintiffs avers that such pattern and custom of the

     City of Jackson and its Police Department’s policy and procedure violates the U.S. Labor

     Laws. As such, Defendants have breached their fiduciary duty to Plaintiffs as well as

     breached the implied, express and verbal contract by conspiring to defraud and steal each

     Plaintiffs rightly earned income for them and their families.

     131. Each and every Plaintiff in this lawsuit avers that the City of Jackson, Mayor

     Chowke Antar Lumumba in his professional capacity as the mayor and individually,

     negligently hired, supervised, and retained Chief James Davis because of all of the said

     reasons stated at page[5] to this very paragraph41.            Also, that Mayor Lumumba

     professional and individually, negligently hired, supervised and retained his uncle or

     relative, E. Bradley Lumumba when he allowed E. Bradley Lumumba to give, instruct,

     direct and lead the City of Jackson Police Departments chief and deputy chief’s of police

     for all the reasons stated in the statements of facts beginning at page [5] of this amended


     41 Plainti does not want be redundant in restating facts that the reader is already aware of
     from the previous paragraphs. Plainti does however, reserve the right to restate those facts if
     it so pleases the Court.

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ff
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lawsuit, including by paying his uncle E. Bradley Lumumba a salary that was not

restricted with clocking in and out, nor restricted in overtime payments but did not allow

not even one Plaintiff the same benefits. Negligent hiring, supervising, and retention of

Deputy Chief Deric Hearn and Vincent Grizzell is shown through neither the City of

Jackson, Mayor Lumumba, City of Jackson Police Department and Chief James Davis

instructed, lead, ratified, acquiesced, and/or told and directed these Deputies to violate the

named constitutional rights of Plaintiffs as stated in this lawsuit and all conspired to the

the daily infliction of misrepresentation of the contractual agreement as stated above,

misuse of a legal proceeding to include the legal representation of the City of Jackson’s

General Orders as stated in preceding paragraphs, joint tortfeasors when all Defendants

as a team effort inflicted the injuries as stated in the preceding paragraphs, strict liability

where applicable to the state for the injuries claimed in the proceedings paragraphs,

negligence because each and every Defendant had the written constitutional before them

or at their disposal but failed to adhere to the same even when they are telling Plaintiffs

what those rights were, negligence per se, intentional infliction fo emotional distress is

seen by the evidence of exhibits that should have alarmed each Defendant that they were

crossing the line of constitutional violations and with Plaintiffs showing evidence of the

countless times they brought written memorandums to the attention of all Defendants,

Defendants still refused to cease from the violations thereby causing severe negligent

distress and mental anguish and in cases where individual Defendants are named,

intentional emotional distress and mental anguish.

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132. To amplify additionally violation Plaintiffs workplace violations and harassment

from each Defendant of this amended lawsuit, Plaintiff Melvin Williams contend that he

has reported to each Defendant that there exist a dangerous life threatening work place

conditions inflicted upon Plaintiffs by all Defendants for Melvin William, Candice

Ingram, Pammela Rigsby, Rhonda Daniels, and Rodney Daniels, of which was

preventable and foreseeable but recklessly ignored by Defendants, Plaintiffs submit

exhibit EE.     This exhibit shows where Plaintiff      Melvin Williams on January 7,

2020(before the lawsuit was even filed against these Defendants) stating that Deputy

Chief Hearn consistently speaks to Williams in a degradingly speaking to Williams in the

presence of other officers as though he was not a man, inducing a physical altercation

with Williams while they both had guns around their waste, and threatening to terminate

and reprimand Plaintiff Williams if he complained about the work load. Please see page

[1] of exhibit EE. Then on March 18, 2020 Plaintiff Williams sends another written

memorandum to the City of Jackson Police Department through the chain of command

begging for help for his SAFETY in guarding the City of Jackson’s impound lot.

Williams tells the City and Jackson Police Department that two men guarding this manny

acres alone all while knowing that there will be more than [2] BURGLARY SUSPECTS

breaking into the cars at the lot could get them killed, and for the least said, Williams

believes his mental anguish was elevated as a result of this. Please see page [2-3] a hand

drawn map of the large facility.



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133.      In fact, as far back as November 12, 2018 Plaintiff Williams wrote another

memorandum complaining about the heavy case load given co-worker Rhonda Daniels,

the FEMALE in the Burglary department but whom was being treated differently than

the men in that department. Please see exhibit EE page [5].

134. Plaintiff Williams contend that each Defendant knew or should have known by the

plethora of memorandums sent to them that the City of Jackson’s Impound Lot was full

of snakes, and over grown grass as well as being shot at daily while trying to secure over

50 acres of abandoned cars and property belonging to others. Please see exhibit EE page

[6] and evidence showing a total of 247 cases needing to be resolved by only [3]

detectives and that was for only one month.

Plaintiff Williams even shows that the burglary division including Rhonda Daniels was

complained about the stress to him and other Plaintiffs from The City of Jackson, through

its Mayor Lumumba, Jackson Police Department, Chief James Davis Deputy Chief Hearn

and Grizzell.    Please see page [7-13] of exhibit EE. Plaintiff Williams vehemently

described that all cases in auto burglary division were severely behind. As a consequence

of the facts stated in all of the preceding paragraphs, Plaintiffs have established that the

state claims of misrepresentation, joint tortfeasors, strict liability, negligence, negligence

per se, negligent hiring, negligent retention, negligent supervising, intentional infliction

fo emotional distress, negligent infliction of emotional distress, breach of contract,

conspiracy, fraud, strict liability, and mental anguish pursuant to law has been

established.

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138. The Fair Labor Standard Act requires the employer to maintain his records of

employee time and pay.        “FLSA Defendant bears the burden to maintain adequate

records of his employee‘s work hours and pay 29 U.S.C.A. § 211(c) Galeana Sanchez v.

Trevino Ruiz, No. 7:16-CV-00445 (S.D. Tex. Sept. 29, 2017) If the defendant fails to

keep such records, the plaintiff can meet his initial summary judgment burden by

producing “some evidence to show the amount and extent of that work as a matter of just

and reasonable inference.”Albanil v. Coast 2 Coast, Inc., 444 Fed. Appx. 788, 806 (5th

Cir. 2011). In this case Plaintiffs have stated irrefutably that they were not paid for work

performed and in some instances as Keith Freeman they were not paid promised deferred

time at retirement.     As such, Plaintiffs should be entitled to pursue this FLSA

VIOLATION and all Defendants will have the opportunity to show records that would

refute the claim. Accordingly there is no immunity defense for a government actor whom

is accused of swindling funds that belongs to its employees as found in this case.

139. Now the Law required for a claim of misrepresentation, Fraud, misuse of a legal

proceeding, breach of contract, and            strict liability according to Mississippi

Jurisprudence. In order to establish a prima facie case of negligent misrepresentation, a

plaintiff is required to show:(1) a misrepresentation or omission of a fact;(2) that the

representation or omission is material or significant; (3) that the defendant failed to

exercise that degree of diligence and expertise the public is entitled to expect of it; (4)

that the plaintiff reasonably relied on the defendant's representations; and (5) that the

plaintiff suffered damages as a direct and proximate result of his reasonable reliance.

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Spragins v. Sunburst Bank, 605 So.2d 777, 780 (Miss.1992). Furthermore, the first

element of misrepresentation must concern a past or present fact as contrasted with a

promise of future conduct. Id. Skrmetta v. Bayview Yacht Club, Inc., 2000-CA-00760-

SCT, (Miss. 2002).

140. In the instant case before the honorable Court there exist an indisputable fact that all

Plaintiffs were at all times relevant to this lawsuit police officers or civilians of the

Jackson Police Department and there is irrefutable exhibits attached hereto that clearly

shows violations of those facts, all Defendants represented material facts to Plaintiffs

safety, life,   and monies earned, All Defendants had the same knowledge that they

distributed to Plaintiffs but failed to exercise competence in handling that knowledge that

harmed Plaintiffs, each Plaintiff relied upon all Defendants representation of the facts

submitted in the above paragraphs, and as a result, Plaintiffs have all suffered damages as

a direct and approximate reliance upon each Defendants role in this matter. Therefore the

elements of misrepresentation, joint tort fear is met because Plaintiffs claims assert that

the Defendants conspired, meaning jointly in most instance to harm them.

141. Again, to avoid redundancy of law and facts Plaintiffs contend that All Defendants

missed the General Orders to their advantage and gain, and that those General orders are

legal contractual documents. Breach of Contract elements are The elements of

a breach of contract are: (1) the existence of a valid and binding contract; (2) that the

defendant has broken, or breached it; and (3) that the plaintiff has been thereby damaged

monetarily. Warwick v. Matheney, 603 So.2d 330, 336 (Miss.1992). Favre's complaint

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alleged each of these elements. Favre Prop. Mgmt., LLC v. Cinque Bambini, 2002-

CA-01092-COA, (Miss. Ct. App. 2004). Likewise, Plaintiffs in this case has shown in

the previous paragraphs that there was an oral contract between all Defendants and

Plaintiffs relating to the payment of certain monies, please see above facts, and that all

Defendants breached that duty to act out their promise and as a result, Plaintiffs suffered

injuries that birthed damages.

142.        The elements of negligence Mississippi holds that: "In identifying the

governmental activity being challenged, as the first step in the analysis of whether

immunity applies, a court must distinguish between real policy decisions implicating

governmental functions and simple acts of negligence that injure citizens. Miss. Code

Ann. § 11-46-9(1).Bailey v. City of Pearl, 2018-CA-01325-COA, (Miss. Ct. App. 2019).

In this case and under negligence, negligence per se, negligent hiring, negligent retention,

negligent supervising, intentional infliction fo emotional distress, negligent infliction of

emotional distress Plaintiffs admonish to the Curt that the claims sought here are injures

that could have been prevented and certainly foreseeable to a reasonable person standard.

Therefore and without reiterating the same facts, Plaintiffs have submitted solicited

evidence that was provided from the Defendants themselves that should allow Plaintiffs

to proceed with their Negligence claims. Plaintiffs avers that the actions of the City of

Jackson, Mayor Lumumba, Chief James Davis, and both Deputy Chief Vincent Grizzell

and Deric Hearn was reckless and clearly outside of the scope of their duties for their

respective positions. No reasonable Mayor would attempt to act as the Chief of Police

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without being a certified policeman, no reasonable person would believe that women

would be treated differently than men, and the list goes on. Plaintiffs have presented

specific facts that implicate each Defendant for the wrongful conduct they are accused of.

143. Even in case law in Mississippi the Supreme Court has held that: “courts have

grappled with the difference between a “discretionary” function, which provides

immunity, and a “ministerial” function, which does not. The Supreme Court's latest

definitive discussion of discretionary-function immunity appears in Wilcher v. Lincoln

County Board of Supervisors, 243 So. 3d 177 (Miss. 2018).Therefore and as a result the

MISSISSIPPI MTCA does not shield liability for these Defendants:

144.     Likewise, in this case, Plaintiffs have all presented enough facts that clearly

displays that each and every Defendants wrongful conduct was not a “discretionary

function, instead, ministerial function.” As such, there can be no shielding behind the

unconstitutional conduct that caused the harm that Plaintiffs are complaining about.

145.     Mississippi Supreme Court even looked to 5th Circuit to expound upon a

municipalities approach to shielding behind the MTCA act. They said: " the Court has

turned for guidance to the body of law developed under the Federal Tort Claims Act. Id.

at 182 (¶11). Citing United States v. Gaubert, 499 U.S. 315, 322, 111 S.Ct. 1267, 113

L.Ed.2d 335 (1991), Wilcher pointed out that “the purpose of the exemption is to prevent

judicial second-guessing of legislative and administrative decisions grounded in” public

policy. Wilcher, 243 So. 3d at 182 (¶11) (quoting Gaubert, 499 U.S. at 323, 111 S.Ct.

1267). Only functions which by their very nature are policy decisions are protected. Id. at

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(¶12). Gaubert developed the “public-policy function test” that Wilcher re-adopted.

Wilcher, at 187 (¶30). The public-policy function test has two parts: The Mississippi

Supreme Court opined that: “ Court first must ascertain whether the activity in question

involved an element of choice or judgment. Miss. Transp. Comm'n v. Montgomery, 80

So. 3d 789, 795 (Miss. 2012). If so, this Court also must decide whether that choice or

judgment involved social, economic, or political-policy considerations. Id. Only when

both parts of the test were met did a government defendant enjoy discretionary-function

immunity.Wilcher, 243 So. 3d at 182 (¶12). That court concluded that When reviewing

whether a challenged action is afforded immunity, a court's focus is “on the nature of the

actions taken and whether they are susceptible to policy analysis.” U.S. v. Gaubert, 499

U.S. 315, 325, 111 S.Ct. 1267, 113 L.Ed. 2d 335 (1991). And in its final judgement the

Mississippi Supreme Court held in the Bailey Case that: “

 “because Bailey's allegations of negligently leaving the gate unsecured, failing to

maintain the gate, and failing to inspect fixtures upon the property that could create a

dangerous condition are not exempt under the public-policy function test of

discretionary immunity, we reverse the circuit court's dismissal of those claims and

remand for further proceedings. Bailey v. City of Pearl, 2018-CA-01325-COA, (Miss. Ct.

App. 2019). Likewise, Plaintiffs in this case has presented clear evidence that all Defendants

were operating outside of the scope of their employment and chose to operate with ministerial

functions of choice then they should not be exempt for answering to the claims asserted hereto.

           146. COUNT ONE: Violation of Constitutional protected rights

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   Plaintiffs repeats and re-alleges all paragraph and herein found in this          amended

complaint.

Plaintiff’s 1st, and 14th U.S. Constitutional Amendments Rights, Title 42 of the United

States Code, Section 1983 42 U.S.C. Section 1983, Title VII of the Civil Rights Act of

1964, Sex discrimination, race discrimination, sex orientation           discrimination (gay

rights), and the Fair Labor Rights.

 Plaintiffs contend that the actions of all Defendants were negligent, reckless, willful,

sometimes intentional and showed a reckless disregard for each Plaintiff’s safety, life,

income, livelihood, emotional mental health, and all protected constitutional rights as

plead above.

       147. COUNT TWO: ALL CLAIMS LISTED IN THIS SUIT FOR STATE
                              CLAIMS

 Plaintiffs repeat and re-allege all previous paragraphs, as if set forth fully herein, and in

the complaint.

Plaintiffs assert STATE CLAIMS OF: misrepresentation, misuse of a legal proceeding,

joint tortfeasors, strict liability, negligence, negligence per se, negligent hiring, negligent

retention, negligent supervising, intentional infliction fo emotional distress, negligent

infliction of emotional distress, breach of contract, conspiracy, fraud, strict liability, and

mental anguish.

Plaintiffs contend that the actions of all Defendants were negligent, reckless, sometimes

intentional, willful and showed a reckless disregard for each Plaintiff’s safety, life,

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income, livelihood, emotional mental health, and all state claims sought in this lawsuit.

protected



                         148. COUNT THREE:
            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

  Plaintiffs repeat and re-allege all paragraphs as if set forth fully herein and in the

complaint. Plaintiff further avers but for the reckless, negligent, willful, and sometimes

intentional wrongful conduct of each Defendant, Plaintiff would not have suffered the

mental anguish as explained in each paragraph here, nor suffered their families and love

ones to be subjected to the end result of the injury of emotional distress and mental

anguish from each Defendant as claimed here.

Plaintiffs contend that the actions of all Defendants were negligent, reckless, willful and

showed a reckless disregard for each Plaintiff safety, life, income, livelihood, mental

health, and rights as plead above.

 The actions of all Defendants through their next person[s] of authority were negligent

and showed a reckless disregard for all Plaintiffs safety, life, income, livelihood, mental

health, and rights as plead above.

                                     149. DAMAGES

 The actions of Defendants were reckless and negligent, wanton, negligent per se, and

showed a reckless disregard for each Plaintiff’s safety, life, income, livelihood, mental

health, and rights as plead above as claimed in the above paragraphs.


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Furthermore, the actions of Defendant, Mayor Cheowke Antar Lumumba professionally

and individually, and Chief James Davis individually and in his professional capacity

demonstrated a ratification of     negligence, negligent per se, reckless, aptitude toward

each Plaintiff and caused each Plaintiff severe infliction of emotional distress as well

mental anguish, pain and suffering, shock, freight, embarrassment, humiliation, fear of

receiving reprimands or termination and loss of earned income and any other damages

not specified in this paragraph.   Additionally, the actions of all Defendants individually

and in their respective professional capacity has caused each Plaintiff severe infliction of

emotional distress as well mental anguish, pain and suffering, shock, freight,

embarrassment, humiliation, fear of receiving reprimands or termination and loss of

earned income.

As a consequence of the foregoing misconduct of all Defendants, Plaintiffs sustained

pain and suffering, excessive mental distress, emotional distress, depression, insomnia,

shock, fright, embarrassment, loss on earned income,        loss of peaceable life without

suffering, humiliation, embarrassment, loss of earned income and every claim as stated

in the above paragraphs

 As a consequence of the foregoing misconduct of these Defendants, each Plaintiff has

been damaged in an amount of the limits of this Court’s jurisdiction.

                                       150. RELIEF

WHEREFORE, each Plaintiff respectfully pray for the following relief:



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1.   Enter a Consent Decree relief declaring that the Mayor of the City of Jackson must

     not act as a certified or sworn police officer in making promises to the Jackson Police

     Department individually or as a unit.

2. Enter a Consent Decree that         Police Chief, James Davis, Mayor Lumumba, E.

     Bradley Lumumba aka.(Hondo), Deputy Chief Vincent Grizell, and Deric Hearn of

     the City of Jackson must abide by the City of Jackson and the Jackson Police

     Department’s General Orders that they required Plaintiffs to honor and to abide by.

3. Enter a Consent Decree that Chief James Davis MUST not require Plaintiffs to

     exercise his religious belief.

4. Enter an Order ending the Defendants’ from bullying, intimidating, and retaliating

     against Plaintiffs.

5. Award each Plaintiff with Compensatory damages, consequential damages, attorney

     fees, cost of litigation, cost of experts, economic damages, medical payments, loss of

     income, actual damages, discretionary damages, excess damages, double damages,

     expectation damages, foreseeable damages, future damages, any damages that are to

     be determined by a jury, against all Defendants;

6. Award all Plaintiffs with Punitive damages against all Defendants

7. Such injunctive relief as the Court deems necessary and proper against all

     Defendants;

8. Any other relief to which the Plaintiffs may be entitled but not listed above.



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RESPECTFULLY SUBMITTED this the 29th day of October, 2021

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                          CERTIFICATE OF SERVICE


I the undersigned do declare that I have filed the foregoing document with the Clerk

of the Court of whom shall serve an electronic copy of the same filing with each

party to this matter.

Submitted October 29, 2021
/s/ Abby Robinson esq. MSB(105157)
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 City of Jackson
Jackson Police Department
Mayor Cheowke Lumumba professionally and personally,
Chief James Davis professionally and personally,
Deputy Chief Vincent Grizell professionally and personally,
Deputy Chief Deric Hearn professionally and personally,
E. Bradley Lumumba aka.(Hondo) professionally and personally



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